         Case 8-17-08043-reg          Doc 29      Filed 09/13/18    Entered 09/13/18 23:25:16

                                                                       Hearing Date: September 26, 2018
                                                                               Time:          1:30 p.m.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
In re:                                                             Chapter 11

FEDERATION EMPLOYMENT AND                                          Case No. 15-71074(REG)
GUIDANCE SERVICE, INC. d/b/a FEGS,

                                    Debtor.

ROBERT N. MICHAELSON, solely in his                                Adv. Proc. No. 17-08043 (REG)
capacity as CREDITOR TRUSTEE OF THE
FEGS CREDITOR TRUST,

                                     Plaintiff,                    [Filed Concurrently with Memorandum
                                                                   of Points Authorities; Separate Statement
VS.                                                                of Disputed Material and Additional
                                                                   Facts; Declaration of Judith Pincus]
ANDREWS INTERNATIONAL, INC.,

                                    Defendant.



        DECLARATION OF .JEFFREY P. NOLAN IN SUPPORT OF PLAINTIFF'S
          OPPOSITION TO DEFENDANT ANDRE\VS INTERNATIONAL, INC.'
      APPLICATION FOR SUMMARY .JUDGMENT DISMISSING THE COMPLAINT

                  I, JEFFREY P. NOLAN, declare:

                  1.         I am an attorney at law duly licensed to practice before all courts in the

State of California. I am an attorney with the law firm of Pachulski Stang Ziehl & Jones LLP,

attorneys of record for Plaintiff, Robert N. Michaelson, solely in his capacity as Creditor Trustee

of the FEGS Creditor Trust (the "Plaintiff'} of Federation Employment and Guidance Service,

Inc. d/b/a "FEGS". The facts stated herein are of my own personal knowledge, or made known to

me from a review of the files and pleadings in this action which are maintained in the ordinary

course of business in our offices. If called upon as a witness to any facts set forth herein, I could

and would competently testify thereto.




DOCS_LAJ 16769.2 27436/003
     Case 8-17-08043-reg                Doc 29     Filed 09/13/18      Entered 09/13/18 23:25:16




                   2.          I submit this declaration (the "Declaration") in support of Plaint?[fs

Opposition to Defendant Andrews International, Inc. 's Application for Summary Judgrnent

Dismissing the Cmnplaint (the "Opposition").

                   3.          Attached hereto as Exhibit 1 is a true and correct copy of the Affidavit of

Service ofMaster Service List [Dkt. No. 804) with attached Master Service List-- US Mail and

Email Recipients [as of February 2, 2017) ("MSL") [Dkt. No. 800). The MSL contains the

following U.S. Mail and Email [ECF] Recipient contact information for Defendant's counsel:

                  Simon & Pa1iners LLP
                  Attn: Michael J. Levin
                  551 Fifth Avenue, 31st Floor
                  New York, NY 10175

                  Emai 1: mlevin(d)simon lmvyers.com.

The attached MSL is evidence that as of February 2, 2018, all parties listed would receive

copies of all filings of pleadings in this proceeding.

                   4.          Attached hereto as Exhibit 2 is a true and correct copy of [Notice of]

Stipulation and Order Authorizing Official Committee of Unsecured Creditors to Prosecute

Certain Claims on Beha(f of the Estate [Dkt. No. 803) filed on February 7, 2017.

                   5.          Attached hereto as Exhibit 3 is a true and correct copy of Joint Emergency

Application for an Order to Show Cause and Entry of a Stipulation and Order Authorizing

Official Committee of Unsecured Creditors to Prosecute Certain Claims on Beha(f of the Estate

("Joint Emergency Application") [Dkt. No. 807).

                   6.          Attached hereto as Exhibit 4 is a true and correct copy of Order to Show

Cause upon the Emergency Application] ("OSC") issued on February 15, 2017, as to why the

Stipulation should not be entered granting the Committee leave, standing and authority to




DOCS_LA:3 I 6769.2 27436/003                              2
      Case 8-17-08043-reg              Doc 29      Filed 09/13/18      Entered 09/13/18 23:25:16




prosecute and settle any estate claims with full rights and privileges of the Debtor. [Dkt. No.

808].

                  7.         Attached hereto as Exhibit 5 is a true and correct copy of Affidavit of

Service of Joint Emergency Application and OSC on Simon & Partners LLP, Michael J.

Levin, mlevin@simonlawyers.com [Dkt. No. 810].

                  8.         Attached hereto as Exhibit 6 is a true and correct copy of the Official

Transcript of Hearing held February 6, 2017 at 1:39 p.m. ("2/6/17 Hearing Transcript") filed with the

Court on February 15, 2017 [Dkt. No. 809].

                  9.         Attached hereto as Exhibit 7 is a true and correct copy of the Official

Transcript of Hearing held February 21, 2017 at 10:04 a.m. ("2/21/17 Hearing Transcript") filed with

the Court on June 16, 2017 [Dkt. No. 903].

                  10.        Attached hereto as Exhibit 8 is a true and correct copy of Stipulation and

Order Authorizing Official Committee of Unsecured Creditors to Prosecute Certain Claims on

Behalf of the Estate [Dkt. No. 813] entered on February 23, 2017 as related to Dkt. No. 803.

                  11.        Attached hereto as Exhibit 9 is a true and correct copy of Defendant's

Re.sponses to Plaintiff's Requestfor Admissions ("RFA") dated September 7, 2018. Pursuant to the

Defendant's Responses, Defendant admits it received $610,604.31 of funds of the Debtor (RF A

No. 1), was a creditor of the Debtor (RFA No. 5), and had a right to receive the Transfers for its

benefit in satisfaction of an antecedent dent (RFA No. 3 and 4).

                  12.        Attached hereto as Exhibit 10 is a true and correct copy of Defendant's

Responses to Plaintiff's First Set Of Interrogatories dated November 6, 2017. Response to

Interrogatory number 1 l identifies a report from 2014, six months prior to the Preference Period, and

the balance sheet in the Debtor's Schedules as the entirety of the Defendant's challenge to the

Debtor's insolvency. The deadlines for presenting expert repo1is has passed. (See Adv. Docket No.

18)


DOCS_LA:316769.2 27436/003                                3
      Case 8-17-08043-reg              Doc 29      Filed 09/13/18      Entered 09/13/18 23:25:16




                  13.        Defendant admitted that it was not a secured creditor (RFA No. 8, Exhibit 9

hereto), but denied that by virtue of receipt of $610,604.31, it would be paid more than would be

received under a liquidation of the Debtor's business sunder Chapter 7 of the Bankruptcy Code. See

Exhibit 9.

                  14.        Attached hereto as Exhibit 11 is a true and correct copy of Defendant's

Responses to Plaintiff's Request For Production of Documents, Set One dated November 6, 2017.

Request No. 22 sought all documents to support Andrew's Int'! claim in its        7th   Affirmative defense,

that by virtue of the Transfers it did not receive more than it would have received in a Chapter 7 case.

I have reviewed Defendant's document production and they include no claims analysis, assets, or

documents evidencing a security interest and do not reference any such documents in written

discovery responses.

                  15.        Andrew's Int'! asserts the Debtor was solvent 011 the Petition Date since its

Schedules evidence a positive net worth of $38,930,091. Request No. 23 to Plaintiff's Request For

Production of Documents, Set One dated November 6, 2017, sought all documents to supp01i

Andrew's claim in its    gth   Affirmative defense, that the challenged transfers were made while the

Debtor was solvent. The Response to Request No. 23 reference a general production ofresponsive

documents, however within the Andrew's document production marked AOOOOO 1-001179, no

financial records reflecting the Debtor's assets, liabilities (other than Andrew's invoices), claims,

liquidation or financial condition of the Debtor is enclosed. Andrew's proffered no other argument or

documents to support its claim of the Debtor' solvency; See Defendant's Responses to Plaintiffs First

Set Oflnterrogatories, Set One; # 11, attached hereto as Ex. 10.

                  16.        Attached hereto as Exhibit 12 is a true and correct copy of the Third

Application Of Pachulski Stang Ziehl & Jones LLP For Allowance Of Interim Compensation

For Services Rendered And Reimbursement Of Actual And Necessary Expenses Incurred




DOCS_LA:316769.2 27436/003                                4
      Case 8-17-08043-reg               Doc 29     Filed 09/13/18       Entered 09/13/18 23:25:16




From January I, 2016 Through June 3 0, 2016 ("PSZJ Third Fee Application") dated August 1,

2016 [Dkt. No. 722].

                  17.        Attached hereto as Exhibit 13, is a true and correct copy of an invoice issued

by Andrew's International to the Debtor on December 31, 2014.

                  18.        Attached hereto as Exhibit 14, is a true and correct copy of an email exchange

dated February 25, 2015, between Andrew's International and the Debtor and produced during

discovery.

                  19.        In discovery to date, the parties have exchanged documents which after

application of 11 U.S.C. §547(c)(4), leave at issue net of the new value defense in excess of

$320,000.00.

                  20.        I have conducted a search of the bankruptcy docket and located no no

opposition or response to the Joint Emergency Application or the Order to Show Cause issued in

February 2017, as filed by Andrew's.

                  21.        Attached hereto as Exhibit 15 is a true and correct copy of the Complaint to

Avoid Preferential Transfers and Recover Avoided Tramfers or the Value Thereof filed March 16, 2017

[Dkt. No. 1]

          I declare under penalty of perjury under the laws of the United States that the foregoing

is true and correct.

          Ex~cuted this      13th   day of September, 2018 at Los Angeles, California.



                                                              Isl Je(frey P. Nolan
                                                       Jeffrey P. Nolan




DOCS_LA:316769.2 27436/003                                5
Case 8-17-08043-reg   Doc 29   Filed 09/13/18   Entered 09/13/18 23:25:16




               EXHIBIT 1
                Case 8-17-08043-reg               Doc 29       Filed 09/13/18          Entered 09/13/18 23:25:16
                  Case 8-15-71074-reg              Doc 804        Filed 02/08/17         Entered 02/08/17 11:57:21


UNITED ST ATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

-----------------------------------------------------------------       X
In re
                                                                            Chapter 11
FEDERATION EMPLOYMENT AND GUIDANCE
                         1
SERVICE INC. d/b/a FEGS,                                                    Case No. 15-71074 (REG)

                                            Debtor.

----------------------------------------------------------------        X


                                                      AFFIDAVIT OF SERVICE

State of California              )
                                 ) ss
County of Los Angeles )

I, Darleen Sahagun, being duly sworn, depose and says:

I am employed by Rust Consulting/Omni Bankruptcy, located at 5955 DeSoto Avenue, Suite 100, Woodland
Hills, CA 91367. I am over 18 years of age and am not a party to this above-captioned adversary proceeding.

I hereby certify that on February 3,2017, I caused true and correct copies of the following document to be
served via email to the parties listed in Exhibit A attached hereto:

       o   Master Set·vice List as of 02/03/l 7 [Docket No. 800)

Dated: February 7, 2017




{State of California                    }
                                                       ~  Darleen Sahagun

{                                       } ss.
{County of Los Angeles                  }




1
    The last four digits of the Debtor's fodcral tax identification number arc 4000.
Case 8-17-08043-reg    Doc 29     Filed 09/13/18     Entered 09/13/18 23:25:16
 Case 8-15-71074-reg    Doc 804     Filed 02/08/17    Entered 02/08/17 11:57:21




                                EXHIBIT A
                 Case 8-17-08043-reg               Doc 29        Filed 09/13/18         Entered 09/13/18 23:25:16
                     Case 8-15-7107 4-reg            Doc 804        Filed 02/08/17         Entered 02/08/17 11:57:21
Federation Employment and Guidance Service, Inc. dba F.E.G.S. - Service List to e-mail Recipients                                     Served 21312017

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Page 1 of 2
                 Case 8-17-08043-reg               Doc 29       Filed 09/13/18          Entered 09/13/18 23:25:16
                    Case 8-15-71074-reg              Doc 804        Filed 02/08/17         Entered 02/08/17 11:57:21
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                                                                                            Parties Served: 71




Page2of2
                  Case 8-17-08043-reg            Doc 29      Filed 09/13/18         Entered 09/13/18 23:25:16

                       Case 8-15-71074-reg        Doc 800        Filed 02/03/17       Entered 02/03/17 08:59:33
_Master Service List. U.S. Mall                                                                                                2/2/2017

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  Page 1 of 3
                    Case 8-17-08043-reg         Doc 29       Filed 09/13/18          Entered 09/13/18 23:25:16

                      Case 8-15-71074-reg       Doc 800       Filed 02/03/17         Entered 02/03/17 08:59:33
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                                              NEW YORK, NY 10007


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 560 FEDERAL PLAZA
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RE: SUFFOLK COUNTY INDUSTRIAL DEVELOPMENT A   RE: NEW YORK CITY INDUSTRIAL AGENCY
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Page 2 of 3
                  Case 8-17-08043-reg           Doc 29      Filed 09/13/18          Entered 09/13/18 23:25:16

                        Case 8-15-71074-reg      Doc 800        Filed 02/03/17       Entered 02/03/17 08:59:33
•. Master Service List. U.S. Mall                                                                                          2/2/2017

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  Page 3 of 3
                    Case 8-17-08043-reg         Doc 29         Filed 09/13/18         Entered 09/13/18 23:25:16

                        Case 8-15-71074-reg        Doc 800        Filed 02/03/17        Entered 02/03/17 08:59:33
, Master Service List· Email Recipients                                                                                         2/2/2017
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     Page 1 of 2
                   Case 8-17-08043-reg          Doc 29       Filed 09/13/18        Entered 09/13/18 23:25:16

                        Case 8-15-71074-reg        Doc 800       Filed 02/03/17      Entered 02/03/17 08:59:33
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  Page 2 of 2
Case 8-17-08043-reg   Doc 29   Filed 09/13/18   Entered 09/13/18 23:25:16




             EXHIBIT 2
    Case 8-17-08043-reg             Doc 29       Filed 09/13/18          Entered 09/13/18 23:25:16
        Case 8-15-71074-reg           Doc 803       Filed 02/07/17        Entered 02/07/17 12:09:19




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------)(
In re                                                                         Chapter 11

FEDERATION EMPLOYMENT AND
GUIDANCE SERVICE, INC. d/b/a FEGS,                                            Case No. 15-71074 (REG)

                                    Debtor.
--------------------------------------------------------------------)(


              STIPULATION AND ORDER AUTHORIZING OFFICIAL
         COMMITTEE OF UNSECURED CREDITORS TO PROSECUTE CERTAIN
                    CLAIMS ON BEHALF OF THE ESTATE

                 This stipulation and order (the "Stipulation and Order") is entered into as of this

7th day of February 2017 by, between and among Federation Employment and Guidance

Services, Inc. d/b/a FEGS, the debtor and debtor in possession (the "Debtor") in the above

captioned case (the "Case") under chapter 11 of title 11 of the United States Code (the

"Bankruptcy Code"), and the Official Committee of Unsecured Creditors of Federation

Employment and Guidance Service, Inc. (the "Committee") appointed in this case (collectively,

the "Parties") with respect to standing and authority to prosecute Committee/Estate Claims (as

defined below). The Debtor and the Committee agree, subject to the approval of the Bankruptcy

Court, as follows:

                                                  RECITALS



             A. On March 18, 2015, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code.

             B. On March 31, 2015, the U.S. Trustee appointed the Committee to represent all

 unsecured creditors of the Debtor pursuant to section 1102 of the Bankruptcy Code.

DOCS_NY:34779.2 27436/002
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    Case 8-17-08043-reg           Doc 29    Filed 09/13/18    Entered 09/13/18 23:25:16
      Case 8-15-71074-reg         Doc 803    Filed 02/07/17     Entered 02/07/17 12:09:19




             C. Since the appointment of the Committee, the Committee has investigated and

 evaluated potential claims and causes of action against the Debtor's former management and

 professionals, with a view towards assessing whether claims may be asserted by or on behalf of

 the Debtor's estate against the persons and entities who may be responsible, in whole or in part,

 for the Debtor's demise or who otherwise may have received a voidable transfer.

             D. The Committee believes that the Debtor's estate may have claims against Gail

 Magaliff, the Debtor's former President, and Ira Machowsky, the Debtor's former executive

 Vice President, for among other things, avoidable transfers pursuant to chapter 5 of the

 Bankruptcy Code, negligence and breaches of fiduciary duty (any such claims, "Officer

 Claims").

             E. The Committee believes that the Debtor's estate may have claims against Loeb &

 Troper LLP, the Debtor's former accountant/auditor, for among other things, negligence and

 aiding and abetting breaches of fiduciary duty (any such claims, "Accountant Claims").

             F. The Committee believes that the Debtor's estate may have claims against various

 transferees to avoid and recover preferential transfers pursuant to sections 547 and 550 of the

 Bankruptcy Code (any such claims, "Preference Claims" and, together with Officer Claims and

 Accountant Claims, the "Committee/Estate Claims").

             G. The Committee has requested, as being in the best interest of the Debtor's estate

 and necessary and beneficial to the fair and efficient administration of the Case, that the Debtor

 consent to the Committee's statutory authority to prosecute the Committee/Estate Claims on

 behalf of the Debtor's estate.

DOCS_NY:34779.2 27436/002                         2

4220145v.2
   Case 8-17-08043-reg          Doc 29      Filed 09/13/18     Entered 09/13/18 23:25:16
      Case 8-15-71074-reg         Doc 803     Filed 02/07/17    Entered 02/07/17 12:09:19




                 NO\V, THEREFORE IT IS HEREBY STIPULATED AND AGREED,

subject to the approval of the Bankmptcy Court, as follows:


         1.      The Committee shall be, and hereby is, granted leave, standing, and authority to

commence, prosecute, and settle any Committee/Estate Claims with full rights and privileges of

the Debtor, with any and all recoveries to be for the benefit of the Debtor's estate; provided,

however, that the Debtor shall not settle any of the Committee/Estate Claims without the

Committee's consent.

         2.      This Stipulation may be executed in any number of counterparts, each of which

shall be deemed an original, but all of which taken together shall constitute one and the same

instrument.

                               [Remainder of page intentionally left blank]




DOCS NY:34779.2 27436/002                         3

4220145v.2
   Case 8-17-08043-reg       Doc 29     Filed 09/13/18     Entered 09/13/18 23:25:16
      Case 8-15-71074-reg     Doc 803     Filed 02/07/17    Entered 02/07/17 12:09:19




AGREED AND ACCEPTED:

PACHULSKI STANG ZIEHL & JONES LLP

/s/ Ilan D. Scharf
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Counsel to the Official Committee of
Unsecured Creditors

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Counsel to the Debtor



SO ORDERED:




DOCS_NY:34779.2 27436/002                    4

4220145v.2
Case 8-17-08043-reg   Doc 29   Filed 09/13/18   Entered 09/13/18 23:25:16




             EXHIBIT 3
      Case 8-17-08043-reg               Doc 29        Filed 09/13/18         Entered 09/13/18 23:25:16
         Case 8-15-7107 4-reg            Doc 807        Filed 02/14/17         Entered 02/14/17 16:58:03




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Ilan D. Scharf, Esq.

Counsel to the Official
Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NE\V YORK
---------------------------------------------------------------x
In re:

FEDERATION EMPLOYMENT AND GUIDANCE                                          Chapter 11
SERVICE, INC. d/b/a FEGS, 1                                                 Case No. 15-71074 (REG)

                              Debtor.
---------------------------------------------------------------x

                 JOINT EMERGENCY APPLICATION FOR AN ORDER TO
               SHO\V CAUSE AND ENTRY OF A STIPULATION AND ORDER
           AUTHORIZING OFFICIAL COMMITTEE OF UNSECURED CREDITORS
             TO PROSECUTE CERTAIN CLAIMS ON BEHALF OF THE ESTATE

           Federation Employment and Guidance Service, Inc. d/b/a FEGS ("FEGS" or the

"Debtor"), as debtor and debtor-in-possession in this Chapter 11 case (the "Chapter 11 Case"),

by and through its attorneys, Garfunkel Wild, P.C., and the Official Committee of Unsecured

Creditors (the "Committee", and collectively with the Debtor, the "Movants"), by and through

1
    The last four digits of the Debtor's federal tax identification number are 4000.




4250656v.3
    Case 8-17-08043-reg        Doc 29     Filed 09/13/18      Entered 09/13/18 23:25:16
      Case 8-15-7107 4-reg      Doc 807     Filed 02/14/17     Entered 02/14/17 16:58:03




its attorneys, Pachulski Stang Ziehl & Jones, LLP, respectfully submits this application (the

"Application"), pursuant to §§ I05(a), 1103(c)(5), and 1109(b) of title 11 of the United States

Code (the "Bankruptcy Code"), Rule 9006 of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules"), and Rule 9077-1 of the Local Bankruptcy Rules for the Eastern District

of New York for the entry of (i) an Order to Show Cause (the "OSC"), substantially in the form

annexed hereto as Exhibit A, requiring any and all parties in interest to show cause why a certain

Stipulation and Order (the "Stipulation"), annexed hereto as Exhibit B, by and between the

Debtor and the Committee authorizing the Committee to prosecute certain claims on behalf of

the Debtor's estate should not be entered in the Chapter 11 Case; and (ii) an Order approving the

Stipulation. In support of the Application, the Movants respectfully state the following:

                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. Consideration of this Application is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        BACKGROUND

        2.     On March 18, 2015 (the "Petition Date"), the Debtor filed a voluntary petition

for relief under Chapter 11 of the Bankruptcy Code. The Debtor is authorized to operate its

business and/or continue to manage its property as a debtor-in-possession pursuant to

Bankruptcy Code§§ 1107 and 1108.

        3.     On March 31, 2015, the United States Trustee for the Eastern District of New

York (the "U.S. Trustee") appointed the Committee pursuant to§ 1102 of the Bankruptcy Code.

The Committee has engaged Pachulski Stang Ziehl & Jones LLP as its counsel. No trustee or

examiner has yet been appointed in this Chapter 11 Case.




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4250656v.3
   Case 8-17-08043-reg         Doc 29     Filed 09/13/18      Entered 09/13/18 23:25:16
      Case 8-15-7107 4-reg      Doc 807      Filed 02/14/17     Entered 02/14/17 16:58:03




        4.     The factual background relating to the Debtor's commencement of this Chapter

11 Case, including its business operations, capital and debt structure, and the need to transfer all

of its programs and sell substantially all of its assets, is set forth in detail in the Amended

Affidavit of Kristin Woodlock Pursuant to Local Rule 1007 and in Support of First Day Motions

(the "·Woodlock Affidavit"), filed on the Petition Date and incorporated herein by reference.

                       FACTS RELEVANT TO THE APPLICATION

        5.     Since the appointment of the Committee, the Committee has investigated and

evaluated potential claims and causes of action for the avoidance of prepetition transfers against

numerous creditors as well as potential claims and causes of action against the Debtor's former

management and professionals.

        6.     The Committee believes that the Debtor's estate may have claims against Gail

Magaliff, the Debtor's former President, and Ira Machowsky, the Debtor's former executive

Vice President, for among other things, avoidable transfers pursuant to chapter 5 of the

Bankruptcy Code, negligence and breaches of fiduciary duty (any such claims, "Officer

Claims").

        7.     The Committee believes that the Debtor's estate may have claims against Loeb &

Troper LLP, the Debtor's former accountant/auditor, for among other things, negligence and

aiding and abetting breaches of fiduciary duty (any such claims, "Accountant Claims").

        8.     The Committee believes that the Debtor's estate may have claims against various

transferees to avoid and recover preferential transfers pursuant to §§ 547 and 550 of the

Bankruptcy Code (any such claims, "Preference Claims" and, together with Officer Claims and

Accountant Claims, the "Committee/Estate Claims").

        9.     The Committee has requested the authority from the Debtor to prosecute the

Committee/Estate Claims on behalf of the Debtor's estate, and upon review of the Committee's

                                                 3
4250656v.3
     Case 8-17-08043-reg          Doc 29    Filed 09/13/18     Entered 09/13/18 23:25:16
      Case 8-15-71074-reg         Doc 807     Filed 02/14/17    Entered 02/14/17 16:58:03




arguments and applicable law, the Debtor has determined to comply with the request. The

Committee has undertaken the laboring oar in investigating potential claims and the Committee's

prosecution of such claims on behalf of the Debtor's estate would certainly promote efficiencies

and avoid duplication of costs.

        10.    Accordingly, the Movants entered into the Stipulation which, subject to approval

by the Court, grants the Committee leave, standing, and authority to commence, prosecute, and

settle any Committee/Estate Claims with full rights and privileges of the Debtor, with any and all

recoveries to be for the benefit of the Debtor's estate, pursuant to the terms and conditions of the

Stipulation.

                                     RELIEF REQUESTED

        11.    By this Application the Movants respectfully request entry of (i) the OSC which

(a) schedules an emergency hearing on approval of the Stipulation; (b) sets forth the deadline for

any parties in interest to show cause why the Stipulation should not be entered by the Comi; and

(c) sets forth the manner of notice to be provided by the Debtor, and (ii) an Order approving the

Stipulation.

                              BASIS FOR RELIEF REQUESTED

I.      The Committee Should be Authorized to Prosecute the Committee/Estate Claims

        12.    It is well settled that § § 1103(c)( 5) and 1109(b) of the Bankruptcy Code provide a

qualified right to a creditors' committees to commence actions in the name of the debtor in

possession with the approval of the bankruptcy court. See In re STN Enters., 779 F.2d 901, 904

(2d Cir. 1985) ("Most bankruptcy courts that have considered the question have found an

implied, but qualified, right for creditor' committees to initiate adversary proceedings in the

name of the debtor in possession under 11 U.S.C. §§ 1103(c)(5) and 1109(b) ... or in reliance on



                                                 4
4250656v.3
   Case 8-17-08043-reg           Doc 29     Filed 09/13/18     Entered 09/13/18 23:25:16
      Case 8-15-7107 4-reg        Doc 807     Filed 02/14/17     Entered 02/14/17 16:58:03




an implied continuation of creditors' committee powers under the pre-1978 Code.") (internal

citations omitted).

         13.   The Second Circuit has held that "a creditors' committee may acquire standing to

pursue the debtor's claims if (1) the committee has the consent of the debtor in possession or

trustee, and (2) the court finds that suit by the committee is (a) in the best interest of the

bankruptcy estate, and (b) is 'necessary and beneficial' to the fair and efficient resolution of the

bankruptcy proceedings.       This approach permits a reasoned and practicable division of labor

between the creditors' committee and the debtor in possession or trustee, while also providing

bankruptcy courts with significant authority both to manage the litigation and to check any

potential for abuse by the parties." In re Commodore Int'l Ltd., 262 F.3d 96, 100 (2d Cir. 2001)

(internal citations omitted) (quoting In re Spaulding Composites Co., 207 B.R. 899, 904 (9th Cir.

BAP 1997)).

        14.    Thus, the Second Circuit applies a two prong test in giving standing to a creditors'

committee to prosecute the debtor's claims; consent by the debtor and showing both that suit by

the committee is in the best interest of the debtor's estate and necessary and beneficial to the fair

and efficient resolution of the bankruptcy proceedings. In re Housecraft Indus. USA, Inc., 310

F.3d 64, 71 (2d Cir. 2002).

        15.    Here, after determining that efficiencies favor the Committee prosecuting claims

for the benefit of the Debtor's estate, and that no basis exists to deny the Committee's request for

authority, the Debtor has given explicit consent to the Committee to prosecute the

Committee/Estate Claims on behalf of the Debtor's estate. The Movants submit that granting the

Committee standing is both in the best interest of the Debtor's estate and is necessary and

beneficial to the efficient resolution of the Chapter 11 Case. In determining the potential benefit



                                                  5
4250656v.3
      Case 8-17-08043-reg      Doc 29     Filed 09/13/18     Entered 09/13/18 23:25:16
       Case 8-15-71074-reg      Doc 807     Filed 02/14/17     Entered 02/14/17 16:58:03




to the estate, a bankruptcy court should weigh the probability of success and the propriety, in

terms of cost, of the creditors' committee being authorized to bring suit. See In re America's

Hobby Ctr., Inc., 223 B.R. 275, 284 (Bankr. S.D.N.Y. 1998) (stating that the bankruptcy court

must "consider whether there is a fair chance that the benefits to be obtained from litigation will

outweigh the cost").     The Committee has investigated the bases of, and the facts and

circumstances surrounding, the Committee/Estate Claims.         The Debtor believes that, if the

Committee/Estate Claims are to brought, the Committee is best positioned to prosecute the such

claims, as the Debtor would need to spend considerable time and resources duplicating the

Committee's efforts. Moreover, litigating the Committee/Estate Claims would redound to the

benefit of unsecured creditors generally, thus facilitating the efficient resolution of the Chapter

I 1 Case.

II.      Entry Of an Order to Show Cause is Necessary and Proper

         16.   Pursuant to§ 546(a)(l)(A), an action or proceeding§§ 544, 545, 547, 548, or 553

of the Bankruptcy Code may not be commenced after 2 years after the entry of the order for

relief. 11 U.S.C. § 546. Pursuant to § 301 of the Bankruptcy Code, the commencement of a

voluntary case under the Bankruptcy Code constitutes an order for relief. 11 U.S.C. § 301. Thus,

March 18, 2017, 2 years from the Petition Date, is the deadline to commence actions or

proceedings under the relevant sections of chapter 5 of the Bankruptcy Code.

         17.   Accordingly, the Movants respectfully submit that proceeding by an application

for an order to show cause is necessary and proper because the deadline to commence actions or

proceedings is just over a month from the date of this Application, it would otherwise be

impossible to seek relief pursuant to a motion requiring notice and a hearing pursuant to

Bankruptcy Rule 2002.



                                                6

4250656v.3
   Case 8-17-08043-reg          Doc 29    Filed 09/13/18      Entered 09/13/18 23:25:16
      Case 8-15-7107 4-reg      Doc 807     Filed 02/14/17     Entered 02/14/17 16:58:03




                                            NOTICE

        18.    Notice of this Motion will be been given to: (a) the Office of the United States

Trustee for the Eastern District of New York; (b) all parties in interest who have requested notice

pursuant to Bankruptcy Rule 2002; and (c) all other parties required to be served in accordance

with the Case Management Order entered by this Court on April 17, 2015 [Docket No. 160]

(collectively, the "Notice Parties") by electronic mail and/or overnight mail. The Movants shall

supplement such notice as directed by the Court in the OSC. The Movants submit that no other

notice need be given.


                                      NO PRIOR RELIEF

        19.    A copy of the Stipulation was filed on the docket and discussed generally at a

hearing on February 6, 2017. Otherwise, no prior request for the relief sought in this Motion has

been made to any other court.




                                                 7
4250656v.3
   Case 8-17-08043-reg           Doc 29      Filed 09/13/18     Entered 09/13/18 23:25:16
      Case 8-15-7107 4-reg         Doc 807     Filed 02/14/17    Entered 02/14/17 16:58:03




        ·wHEREFORE, the Movants respectfully request that the Court enter the OSC, attached

hereto as Exhibit A, granting the relief requested herein, and granting the Debtor such other and

further relief as is just and proper.


Dated: February 14, 2017
       Great Neck, New York
                                                      GARFUNKEL \VILD, P.C.


                                                      By: Isl Burton S. Weston
                                                         Burton S. Weston
                                                         Adam T. Berkowitz
                                                         Phillip Khezri
                                                          111 Great Neck Road
                                                          Great N eek, NY 11021
                                                          Telephone: (516) 393-2200
                                                         Facsimile: ( 516) 466-5964
Dated: February 14, 2017
       New York, New York
                                               PACHULSKI STANG ZIEHL & JONES LLP


                                                      By: Isl Ilan D. Scharf
                                                          Robert J. Feinstein, Esq.
                                                          Ilan D. Scharf, Esq.
                                                         780 Third A venue, 34th Floor
                                                         New York, New York 10017
                                                         Telephone: (212) 561-7700
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                                                  8
4250656v.3
Case 8-17-08043-reg   Doc 29   Filed 09/13/18        Entered 09/13/18 23:25:16
Case 8-15-71074-reg   Doc 807-1     Filed 02/14/17     Entered 02/14/17 16:58:03




                                  EXHIBIT A
      Case 8-17-08043-reg              Doc 29       Filed 09/13/18         Entered 09/13/18 23:25:16
       Case 8-15-71074-reg             Doc 807-1        Filed 02/14/17        Entered 02/14/17 16:58:03




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NE\V YORK
-----------------------------------------------------------x
In re:

FEDERATION EMPLOYMENT AND GUIDANCE                                        Chapter 11
SERVICE INC. d/b/a/ FEGS,                                                 Case No. 15-71074 (REG)

                             Debtor.
-----------------------------------------------------------x
                                          ORDER TO SHO\V CAUSE

         Upon the emergency application dated February 14, 2017 (the "Application") of
Federation Employment and Guidance Service, Inc. d/b/a FEGS ("FEGS" or the "Debtor") as a
Chapter 11 debtor and debtor-in-possession in the above referenced Chapter 11 Case and the
Official Committee of Unsecured Creditors (the "Committee", and collectively with the Debtor,
the "Movants") seeking entry of (i) an Order to Show Cause (a) scheduling an emergency
hearing on approval of the Stipulation 1; (b) setting forth the deadline for any parties in interest to
show cause why the Stipulation should not be entered by the Court; and (c) setting forth the
manner of notice to be provided by the Movants; and (ii) an Order approving the Stipulation; and
it appearing that good cause exists for granting an Order to Show Cause pursuant to Rule 9077-1
of the Local Bankruptcy Rules for the Eastern District of New York; it is hereby

          ORDERED, that any party in interest is directed to show cause before the Honorable
Robert E. Grossman, United States Bankruptcy Judge, United States Bankruptcy Court for the
Eastern District of New York (the "Bankruptcy Court"), 290 Federal Plaza, Central Islip, New
York 11722, Room 860, on February_, 2017 at_: __ .m. Eastern Time, why the Stipulation
should not be entered granting the Committee leave, standing, and authority to commence,
prosecute, and settle any Committee/Estate Claims with the full rights and privileges of the
Debtor, with any and all recoveries to be for the benefit of the Debtor's estate, subject to the
terms of the Stipulation; and it is further

         ORDERED, that responses, if any, to the Application must be made in writing, stating in
detail the reason for any objection, and must be filed with the Clerk of the Bankruptcy Court,


1
    Capitalized terms not defined herein shall have the meaning ascribed to them in the Application.




4251415v.2
   Case 8-17-08043-reg         Doc 29      Filed 09/13/18      Entered 09/13/18 23:25:16
    Case 8-15-71074-reg        Doc 807-1      Filed 02/14/17     Entered 02/14/17 16:58:03




with paper copies delivered to Judge Grossman's Chambers, and served upon: (i) Garfunkel
Wild, P.C., Counsel for the Debtor and Debtor in Possession, bweston@garfunkelwild.com,
Attn: Burton S. Weston, Esq., Adam T. Berkowitz, Esq., and Phillip Khezri, Esq.; (ii) Pachulski
Stang Ziehl & Jones, LLP, counsel to the Official Committee of Unsecured Creditors,
ischarf@pszjlaw.com, Attn: Robert J. Feinstein, Esq. and Ilan D. Scharf, Esq; and (iii) the
United States Trustee for the Eastern District of New York, Alfonse D'Amato Federal
Courthouse, Stan.Y.Yang@usdoj.gov, Attn: Stan Y. Yang, Esq., so that they are actually
received by the aforementioned parties no later than_: __ .m. on February_, 2017; and it is
further

      ORDERED, that responses not timely served and filed may not be considered by the
Court; and it is further

      ORDERED, that the Movants shall serve this Order to Show Cause, together with the
Application, to the extent not already done, by overnight mail or electronic mail on the Notice
Parties, on or before February_, 2017; and it is further

      ORDERED, that service in accordance with this Order to Show Cause shall constitute
good and sufficient service and adequate notice; and it is further

      ORDERED, that this Court shall retain jurisdiction to hear and determine all matters
arising from or related to the implementation, interpretation, or enforcement of this Order to
Show Cause.




                                                 2
4251415v.2
Case 8-17-08043-reg    Doc 29   Filed 09/13/18        Entered 09/13/18 23:25:16
Case 8-15-7107 4-reg   Doc 807-2     Filed 02/14/17     Entered 02/14/17 16:58:03




                                   EXHIBIT B
    Case 8-17-08043-reg             Doc 29       Filed 09/13/18          Entered 09/13/18 23:25:16
     Case 8-15-71074-reg             Doc 807-2        Filed 02/14/17       Entered 02/14/17 16:58:03




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------)(
In re                                                                         Chapter 11

FEDERATION EMPLOYMENT AND
GUIDANCE SERVICE, INC. d/b/a FEGS,                                            Case No. 15-71074 (REG)

                                    Debtor.
--------------------------------------------------------------------)(


              STIPULATION AND ORDER AUTHORIZING OFFICIAL
         COMMITTEE OF UNSECURED CREDITORS TO PROSECUTE CERTAIN
                    CLAIMS ON BEHALF OF THE ESTATE

                   This stipulation and order (the "Stipulation and Order") is entered into as of this

7th day of February 2017 by, between and among Federation Employment and Guidance

Services, Inc. d/b/a FEGS, the debtor and debtor in possession (the "Debtor") in the above

captioned case (the "Case") under chapter 11 of title 11 of the United States Code (the

"Bankruptcy Code"), and the Official Committee of Unsecured Creditors of Federation

Employment and Guidance Service, Inc. (the "Committee") appointed in this case (collectively,

the "Parties") with respect to standing and authority to prosecute Committee/Estate Claims (as

defined below). The Debtor and the Committee agree, subject to the approval of the Bankruptcy

Court, as follows:

                                                  RECITALS



               A. On March 18, 2015, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code.

               B. On March 31, 2015, the U.S. Trustee appointed the Committee to represent all

 unsecured creditors of the Debtor pursuant to section 1102 of the Bankruptcy Code.

DOCS __ NY:34779.2 27436/002
4220145v.2
    Case 8-17-08043-reg           Doc 29   Filed 09/13/18       Entered 09/13/18 23:25:16
     Case 8-15-71074-reg          Doc 807-2    Filed 02/14/17     Entered 02/14/17 16:58:03




             C. Since the appointment of the Committee, the Committee has investigated and

 evaluated potential claims and causes of action against the Debtor's former management and

 professionals, with a view towards assessing whether claims may be asserted by or on behalf of

 the Debtor's estate against the persons and entities who may be responsible, in whole or in part,

 for the Debtor's demise or who otherwise may have received a voidable transfer.

             D. The Committee believes that the Debtor's estate may have claims against Gail

 Magaliff, the Debtor's former President, and Ira Machowsky, the Debtor's former executive

 Vice President, for among other things, avoidable transfers pursuant to chapter 5 of the

 Bankruptcy Code, negligence and breaches of fiduciary duty (any such claims, "Officer

 Claims").

             E. The Committee believes that the Debtor's estate may have claims against Loeb &

 Troper LLP, the Debtor's former accountant/auditor, for among other things, negligence and

 aiding and abetting breaches of fiduciary duty (any such claims, "Accountant Claims").

             F. The Committee believes that the Debtor's estate may have claims against various

 transferees to avoid and recover preferential transfers pursuant to sections 547 and 550 of the

 Bankruptcy Code (any such claims, "Preference Claims" and, together with Officer Claims and

 Accountant Claims, the "Committee/Estate Claims").

             G. The Committee has requested, as being in the best interest of the Debtor's estate

 and necessary and beneficial to the fair and efficient administration of the Case, that the Debtor

 consent to the Committee's statutory authority to prosecute the Committee/Estate Claims on

 behalf of the Debtor's estate.

DOCS_NY:34779.2 27436/002                         2

4220145v.2
    Case 8-17-08043-reg         Doc 29   Filed 09/13/18 Entered 09/13/18 23:25:16
     Case 8-15-71074-reg        Doc 807-2 Filed 02/14/17 Entered 02/14/17 16:58:03




                 NO\V, THEREFORE IT IS HEREBY STIPULATED AND AGREED,

subject to the approval of the Bankruptcy Court, as follows:


         1.      The Committee shall be, and hereby is, granted leave, standing, and authority to

commence, prosecute, and settle any Committee/Estate Claims with full rights and privileges of

the Debtor, with any and all recoveries to be for the benefit of the Debtor's estate; provided,

however, that the Debtor shall not settle any of the Committee/Estate Claims without the

Committee's consent.

        2.       This Stipulation may be executed in any number of counterparts, each of which

shall be deemed an original, but all of which taken together shall constitute one and the same

instrument.

                               [Remainder of page intentionally left blank]




DOCS_NY:34779.2 27436/002                         3

4220145v.2
   Case 8-17-08043-reg       Doc 29    Filed 09/13/18     Entered 09/13/18 23:25:16
    Case 8-15-71074-reg      Doc 807-2   Filed 02/14/17     Entered 02/14/17 16:58:03




AGREED AND ACCEPTED:

PACHULSKI STANG ZIEHL & JONES LLP

Isl Ilan D. Scharf
Ilan D. Scharf, Esq.
780 Third A venue, 34 th Floor
New York, New York 10017-2024
Telephone: (212) 561-7700
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Email: ischarf@pszjlaw.com

Counsel to the Official Committee of
Unsecured Creditors

GARFUNKEL WILD, P.C.


Isl Burton S. Weston
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Telephone: (516) 393-2200
Fascimile: (516) 466-5964
Email: bwcston@garfunkelwild.com

Counsel to the Debtor



SO ORDERED:




DOCS NY:34779.2 27436/002                   4

4220145v.2
Case 8-17-08043-reg   Doc 29   Filed 09/13/18   Entered 09/13/18 23:25:16




             EXHIBIT 4
      Case 8-17-08043-reg              Doc 29       Filed 09/13/18         Entered 09/13/18 23:25:16
         Case 8-15-7107 4-reg           Doc 808        Filed 02/15/17        Entered 02/15/17 11:33:07




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re:

FEDERATION EMPLOYMENT AND GUIDANCE                                        Chapter 11
SERVICE INC. d/b/a/ FEGS,                                                 Case No. 15-71074 (REG)

                             Debtor.
-----------------------------------------------------------x
                                          ORDER TO SHOW CAUSE

         Upon the emergency application dated February 14, 2017 (the "Application") of
Federation Employment and Guidance Service, Inc. d/b/a FEGS ("FEGS" or the "Debtor") as a
Chapter 11 debtor and debtor-in-possession in the above referenced Chapter 11 Case and the
Official Committee of Unsecured Creditors (the "Committee", and collectively with the Debtor,
the "Movants") seeking entry of (i) an Order to Show Cause (a) scheduling an emergency
hearing on approval of the Stipulation 1; (b) setting forth the deadline for any parties in interest to
show cause why the Stipulation should not be entered by the Court; and (c) setting forth the
manner of notice to be provided by the Movants; and (ii) an Order approving the Stipulation; and
it appearing that good cause exists for granting an Order to Show Cause pursuant to Rule 9077-1
of the Local Bankruptcy Rules for the Eastern District of New York; it is hereby

          ORDERED, that any party in interest is directed to show cause at a hearing before the
Honorable Robert E. Grossman, United States Bankruptcy Judge, United States Bankruptcy
Court for the Eastern District of New York (the "Bankruptcy Court"), 290 Federal Plaza,
Central Islip, New York 11722, Room 860, on February 21, 2017 at 10:00 a.m. Eastern Time
("Hearing"), why the Stipulation should not be entered granting the Committee leave, standing,
and authority to commence, prosecute, and settle any Committee/Estate Claims with the full
rights and privileges of the Debtor, with any and all recoveries to be for the benefit of the
Debtor's estate, subject to the terms of the Stipulation; and it is further

         ORDERED, that the Court shall consider oral responses to the Application at the Hearing;
and it is further


1
    Capitalized terms not defined herein shall have the meaning ascribed to them in the Application.




425141 Sv.2
    Case 8-17-08043-reg        Doc 29      Filed 09/13/18     Entered 09/13/18 23:25:16
      Case 8-15-7107 4-reg      Doc 808      Filed 02/15/17     Entered 02/15/17 11:33:07




      ORDERED, that the Movants shall serve this Order to Show Cause, together with the
Application, to the extent not already done, by overnight mail or electronic mail on the Notice
Parties, on or before February 15, 2017, and the Movants shall file an affidavit of service with
the Court on or before February 17, 2017 at 12:00 p.m.; and it is further

      ORDERED, that service in accordance with this Order to Show Cause shall constitute
good and sufficient service and adequate notice; and it is further

      ORDERED, that this Court shall retain jurisdiction to hear and determine all matters
arising from or related to the implementation, interpretation, or enforcement of this Order to
Show Cause.




 Dated: Central Islip, New York                                     Robert E. Grossman
        February 15, 2017                                      United States Bankruptcy Judge


                                                 2
4251415v.2
Case 8-17-08043-reg   Doc 29   Filed 09/13/18   Entered 09/13/18 23:25:16




             EXHIBIT 5
                Case 8-17-08043-reg              Doc 29        Filed 09/13/18          Entered 09/13/18 23:25:16
                   Case 8-15-71074-reg             Doc 810        Filed 02/17/17        Entered 02/17/17 09:20:56


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

-----------------------------------------------------------------      X
In re
                                                                           Chapter 11
FEDERATION EMPLOYMENT AND GUIDANCE
SERVICE INC. d/b/a FEGS, 1                                                 Case No. 15-71074 (REG)

                                           Debtor.

----------------------------------------------------------------       X

                                                     AFFIDAVIT OF SERVICE

State of California   )
                      ) ss
County of Los Angeles )

I, Darleen Sahagun, being duly sworn, depose and says:

I am employed by Rust Consulting/Omni Bankruptcy, located at 5955 DeSoto Avenue, Suite 100, Woodland
Hills, CA 91367. I am over 18 years of age and am not a party to this above-captioned adversary proceeding.

I hereby certify that on February 15, 2017, I caused true and correct copies of the following document to be
served (i) via email to the parties listed in Exhibit A and (ii) via overnight mail by placing the documents in a
sealed envelope, affixing a pre-paid air bill, and delivering envelopes to an overnight courier location in Los
Angeles, California to the parties listed on the Service List in Exhibit B attached hereto:

       •   Joint Emergency Application for an Order to Show Cause and Entry of a Stipulation and Order
           Authorizing Official Committee of Unsecured Creditors to Prosecute Certain Claims on Behalf of
           The Estate [Docket No. 807]

       •   Order to Show Cause [Docket No. 808]

Dated: February 16, 2017


                                                         Darleen Sahagun
{State of California                   }
{                                      } ss.
{County of Los Angeles                 }

Subscribed and sworn to ( or affirmed) before me on this _.1J2__ day of · '-tb. , 20 fl_, by Darleen Sahagun,
                           f satisfactory evidence to be the person who appeared before me.




1
    The last four digits of the Debtor's federal tax identification number are 4000.
Case 8-17-08043-reg    Doc 29    Filed 09/13/18    Entered 09/13/18 23:25:16
 Case 8-15-71074-reg   Doc 810    Filed 02/17/17    Entered 02/17/17 09:20:56




                                 EXHIBIT A
                 Case 8-17-08043-reg               Doc 29        Filed 09/13/18          Entered 09/13/18 23:25:16
                     Case 8-15-71074-reg             Doc 810        Filed 02/17/17         Entered 02/17/17 09:20:56
Federation Employment and Guidance Service, Inc. dba F.E.G.S. - Service List to e-mail Recipients                                 Served 2/15/2017

175 HEMPSTEAD, LLC                              AMERICAN EXPRESS TRAVEL RELATED SERVICES C          BELKIN BURDEN WENIG & GOLDMAN LLP
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Page 1 of 2
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Page 2 of 2
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600 OLD COUNTRY ROAD                              EXECUTIVE DIRECTOR                             CORPORATE TAX ADMINISTRATION
SUITE 410                                         H. LEE DENNISON BUILDING, 3RD FLOOR            101 BARCLAY STREET-7W
GARDEN CITY NY 11530                              100 VETERANS MEMORIAL HWY, PO BOX 6100         RE: SUFFOLK COUNTY IND. DEV. AGENCY
                                                  HAUPPAUGE NY 11788                             NEW YORK NY 10286



THE BANK OF NEW YORK (TRUSTEE)                    UNITED STATES ATTORNEY'S OFFICE                USDOJ - OFFICE OF ATTORNEY GENERAL
CORPORATE TRUST ADMINISTRATION                    LONG ISLAND BANKRUPTCY PROCESSING              ERICH. HOLDER, JR.
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RE: NEW YORK CITY INDUSTRIAL AGENCY               CENTRAL ISLIP NY 11722                         WASHINGTON DC 20530-0001
NEW YORK NY 10286



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Page 1 of 1
Case 8-17-08043-reg   Doc 29   Filed 09/13/18   Entered 09/13/18 23:25:16




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Case 8-17-08043-reg              Doc 29            Filed 09/13/18              Entered 09/13/18 23:25:16
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                                                                                                           Page 1

    1      UNITED STATES BANKRUPTCY COURT

    2      EASTERN DISTRICT OF NEW YORK

    3      Case No. 8-15-71074-reg

    4                                               -     -   -   -    -   -    -    -   -   -   -   -x

    5       In the Matter of:

    6

    7      FEDERATION EMPLOYMENT AND GUIDANCE SERVICE, INC.,

    8

    9                                     Debtor.

   10

   11       -   -   -   -    -   -    -    -   -    -     -   -   -    -   -    -    -   -   -   -   -x

   12

   13                                                                 United States Bankruptcy Court

   14                                                                 290 Federal Plaza

   15                                                                 Central Islip, New York 11722

   16

  17                                                                  February 6, 2017

  18                                                                  1:39 PM

  19

  20

  21       BEFORE:

  22       HON. ROBERT E. GROSSMAN

  23       U.S. BANKRUPTCY JUDGE

  24

  25       ECRO:            UNKNOWN

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                                                                                  Page 2

    1      HEARING re     [156]   ADJ Status Conference

    2


    3      HEARING re     [779]   Order Approving Bid Procedures for the Sale of

    4      the Debtors Real Property located at 21 Duryea Place, Brooklyn,

    5      NY,   Scheduling an Auction and a Sale            [764] Motion for Sale of

    6      Property at 21 Duryea Place, Brooklyn New York Free and clear

    7      of all liens, claims and encumbrances by Burton S Weston on

    8      behalf of Federation Employment and Guidance Service,                  Inc.

    9


   10      HEARING re     [793] Motion to Authorizing the Assumption and

   11      Assignment of a Certain Unexpired Residential Real Property

   12      Lease to the Jewish Board for Family and Children Services

   13      (JBFCS) by Burton S Weston on behalf of Federation Employment

   14      and Guidance Service, Inc.

   15

   16

   17

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   24

   25      Transcribed by:        Sonya Ledanski Hyde

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                                                                                 Page 3

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                                                                             Page 5

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    9      MORITT HOCK        &   HAMROFF LLP

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  17                   Attorney for the U.S.              Trustee

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  22       BY:         STAN YANG

  23

  24

  25

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                                                                                   Page 6

    1                                  P R O C E E D I N G S

    2                    CLERK:   Matters Number 56 through 58, Federation

    3      Employment & Guidance Service, Inc.

    4                    MR. WESTON:        Good afternoon, Your Honor.        Burton

    5      Weston --

    6                    THE COURT:     Anybody on the phone?

    7                    MR. WESTON:    -- Adam Berkowitz, Garfunkel Wild.

    8                    THE COURT:     I    just was checking if we have people on

    9      the phone.

   10                    MR. WESTON: Oh.

   11                    THE COURT:     Go ahead.

   12                    MR. WESTON: Burton Weston, Adam Berkowitz, Garfunkel,

   13      Wild,   on behalf of the Debtor FEGS.

   14                    MR. SCHARF:        Ilan Scharf, Pachulski Stank Ziel

   15                    MR. AGUDELO:        Good afternoon, Your Honor, I'm

   16      Jonathan Agudelo,

   17                    MR. SCHARF:        -- on behalf of Committee.

   18                    MR. AGUDELO:        -- here on behalf of the Jewish Board

   19      of Family & Children Service.

   20                    CLERK:   Hold on please.

   21                    MAN 1:   One more time?

   22                    THE COURT:     I don't know.        I know you're here.

   23                    MAN 1:   Oh, good.       Thank you.

   24                    MR. YANG:     Good afternoon, Your Honor.           Stan Yang for

   25           United States Trustee.

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                                                                                  Page 7

    1                   CLERK:    Please state your phone appearance on

    2      Federation.

    3                   MR. AGUDELO:     Good afternoon.           Jonathan Agudelo from

    4      Ropes & Gray, on behalf of the Jewish Board of Family &

    5      Children Service - Tele/Video.

    6                   MS. HARDMAN:     Good afternoon, Your Honor.

    7                   MS. GU:     Good afternoon.        Oh,    I'm sorry.    Good

    8      afternoon, Your Honor.        Ligee Gu, Halperin Battaglia Benzija,

    9      on behalf of the New York State Department of Labor.

   10                   MS. HARDMAN:     Good afternoon.           Carrie Hardman from

   11      Winston & Strawn, on behalf of OPWDD and OMH.

   12                   MS. DENNISON:     Good afternoon, Your Honor.             Carol

   13      Dennison, on behalf of DAVINI.

   14                   MS. SPIGEL:     Good afternoon, Your Honor.             Robin

   15      Spigel, Willkie Farr & Gallagher, counsel for FOJP Services

   16      Corporation.

   17                   CLERK:    That's it.

   18                   THE COURT:     Okay.

   19                   MR. WESTON: Good afternoon, Your Honor.                On the

   20      calendar today there are two motions, one to approve a sale of

   21      certain vacant real property that FEGS owned on Duryea Place in

   22      Brooklyn, a motion to assume and assign a lease on an adjacent

   23      property that's owned by an independent third party, as well as

   24      a status conference.

   25                   If Your Honor is okay,         I'd like to proceed with the

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                                                                                   Page 8

    1      motions first and give you a status after I'm done.

    2                    THE COURT:     Sure.

    3                    MR. WESTON: First, with respect to the sale motion,

    4      Your Honor,     as I said, FEGS is the owner of a vacant parcel of

    5      real property located at 21 Duryea Place in Brooklyn.                      It is a

    6      parking lot containing approximately 6500 square feet of space.

    7      It's adjacent to a building that's owned by a third-party,

    8      which is leased to FEGS as well.               And at that property, it has

    9      housed a residential behavioral program that was transferred to

   10      and is currently being administered by JBSCS, and indeed is the

   11      subject of the second motion before Your Honor this afternoon.

   12                   We filed this motion back in November, November 17th,

   13      seeking first the entry of a bid procedures order and

   14      thereafter,     approval of a sale.          The bid procedures order was

   15      entered on the 19th of December.              We served the motion --

   16      excuse me,     the order of notice of auction and a sale hearing on

   17      all parties required by the Court, including parties who had

   18      previously expressed interest in the property.

   19                   The auction was held on February 2 and we seek the

   20      Court's approval of the sale to David Levitan free and clear of

   21      liens.      He was the successful bidder at $1,515,000, which was

   22      $515,000 over the original stocking horse bid.

   23                   Just by way of background, Your Honor, we had earlier

   24      retained Kalmon Dolgin in this case to act as exclusive real

   25      estate broker to market the property.               Part of the issue we

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                                                                                  Page 9

    1      had, and I think I've elaborated on it to the Court previously,

    2      is this parcel is part of the same zoning lot with the third-

    3      party owned property adjacent to it.              So,   a problem we had in

    4      procuring bids is that any buyer really didn't know what kind

    5      of development right it was ultimately acquiring with respect

    6      to the vacant lot.

    7                    So, while we were developing alternative methods of

    8      disposing of the properties, having received no bids through

    9      Kalmen Dolgin, it turned out we received an unsolicited bid

   10      from Mr. Levitan.

   11                    Mr. Levitan, it turned out, was also the contract

   12      vendee, had a contract to purchase the adjacent building which

   13      houses the JBSCS program.         So, he was going to be the joint

   14      buyer -- joint owner of both pieces of property.

   15      We negotiated a purchase and sale agreement for $1 million,

   16      subject to higher and better bids,             and he became the stalking

   17      horse.

   18                  The bid procedures order set January 27th as the last

   19      date to submit bids and we did receive one other bid from Kings

   20      Equity Group, LLC, at $1,050,000, which was the minimum overbid

   21      required,     and all other elements of that contract and bid were

   22      consistent with the requirements of the bid procedures.                     And

   23      the Debtor,     in consultation with the Committee, qualified that

   24      bid as an additional bid -- as a qualified bid,               I should -- I'm

   25      sorry.

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                                                                               Page 10

    1                   The auction,    as I indicated earlier, proceeded on

    2      February 2.     It was rather spirited, to say the least, and Mr.

    3      Levitan was the successful bidder at $1,515,000.                 And the

    4      Committee and Debtor designated King Equity Group's bid of $1.5

    5      million as the backup bid.

    6                   Mr. Levitan had been granted a breakup fee of

    7      $25,000,    and that will be adjusted at the closing, as they were

    8      bidding on an apples-to-apples basis.              And as required by the

    9      bid procedures --

   10                   THE COURT:     What do you mean, adjusted?

   11                   MR. WESTON: He'll be getting a $25,000 credit at the

   12      closing against the purchase price, which is still higher and

   13      better than they would have received if we got $1.5 million.

   14                   THE COURT:     I know, but is that

   15                   MR. WESTON: Yeah, that was what our contractor

   16                   THE COURT:     Am I out of this so long I don't

   17      remember?     We have a breakup fee,         the breakup fee,     if the

   18      original bidder who was given the breakup fee is successful, he

   19      gets a credit for the amount of the breakup the?

   20                  MR. WESTON:      He does because they, of course, were

  21       bidding on an apples-to-apples basis.              In other words,       his bid

  22       still comes out higher than the second bid.               That's how we did

  23       it in Jerome,    that's how we did it in (indiscernible), and we

  24       did it here.     So, his net bid --

  25                   THE COURT:      Go ahead.

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                                                                                 Page 11

    1                   MR. WESTON: Okay.       In any event, he has supplemented

    2      his deposit such that the deposit now represents --

    3                   THE COURT:     Well,   I'm just curious.            The other guy

    4      bid $1.5 million?

    5                   MR. WESTON: Correct.          We would've had to pay a

    6      breakup fee,    so it would have been $1,475,000.

    7                   THE COURT:     But if you give Levitan back $25,000, he

    8      bid --

    9                   MR. WESTON: It's still --

   10                   THE COURT:     -- $1,495,000.

   11                   MR. WESTON:    $1,495,000.           It's higher.    Then we would

   12      have received

   13                   THE COURT:     It's funny,       I    just don't remember that's

   14      how breakup fees work.

   15                   MR. WESTON: Yeah.

   16                   THE COURT:     I ' l l take your word for it, but ...

   17                   MR. WESTON: So, we seek approval of the winning bid.

   18      As you know,    the property is no longer needed by the Debtor.

   19      So at least we had         we believe, that the sale is certainly in

   20      the best interests of the estate and the estate's creditors at

   21      this point.

   22                  We think the price that we received is fair and

   23      reasonable,    certainly in consideration of the zoning issues

   24      that we confronted,       the extent of the marketing process that we

   25      ran for over a year with respect to the property, the

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  Case 8-15-71074-reg      Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 12

    1      competitive bid process that we ultimately underwent.                     We

    2      believe that the offer is fair and reasonable and in our

    3      estimate, the best that we could receive.

    4                    We are looking to sell,          free and clear of liens.

    5      There are indeed no mortgages, no mechanic's liens --

    6                    THE COURT:     There's not going to be any caveat in my

    7      order with granting the buyer of this any right greater than he

    8      currently would get as a buyer outside of bankruptcy?

    9                    MR. WESTON:     That's correct.           The same form of order

   10      that we had submitted before.

   11                    THE COURT:     Because I don't want to fool with the

   12      City and what he does to the property and a million other

   13      things.

   14                    MR. WESTON:     Right.

   15                    THE COURT:     I ' l l look at the order.

   16                    MR. WESTON: Okay.

   17                    THE COURT:    Anybody want to be heard on this?                The

   18      Court will grant the motion.

   19                    MR. WESTON: Thank you, Your Honor.             Next, Your Honor,

   20      is a motion to assume and assign the lease of the adjacent

   21      building at 21 Duryea Place.            FEGS was the long-term lessee of

   22      that building, in which was housed a residential program.                      The

   23      program, early in the case back in June of 2015, was, together

   24      with all of the other behavioral health programs, assigned to

   25      JBSCS.      JBSCS, you'll recall,       assumed a number of real property

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 13

    1      leases in connection with those program transfers.

    2                    Given the long-term nature of this lease and the

    3      uncertainty that JBSCS had as to how this was going to fit into

    4      its long-term strategies and long-term plan, there was no

    5      assumption and assignment at that point in time of this lease.

    6      It's a residential lease we have, through confirmation, to

    7      assume.     They have now made the determination that they want to

    8      assume the lease.         It extends through 2033.

    9                    The lease is current.          We have been paying all

   10      obligations.      JBSCS has been granted use

   11                    THE COURT:     Who's the lessor?

   12                    MR. WESTON:     FEGS is the lessor.          The lessor -- I'm

   13      sorry -- is Marvin Beinhorn.            It's 21 Duryea Place, LLC, is the

   14      lessor.

   15                    THE COURT:     And he's agreeing to -- he's not

   16      objecting to this?

   17                    MR. WESTON: No objection.           The lease currently is at

   18      a rate of about $960,000 per year, with increases over the term

   19      of the lease,     ratchets up to about $1.2 million on an annual

   20      rent basis.      As I said, we are current in our rent.                 Indeed,

   21      rent has been paid,        as well as taxes,       through February 28th.

   22                    The proposed motion seeks an order which requires

   23      JBSCS to remit the security deposit to us and replace the

   24      security deposit with the new landlord.                 We've been in touch

   25      with both parties.         The form of order has been circulated both

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  Case 8-15-7107 4-reg      Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                 Page 14

    1       to JBSCS and the landlord.

    2                     THE COURT:     And these are leases to what?

    3       Residential apartments --

    4                     MR. WESTON: There are 39 rooms that house a young

    5       adult and rehabilitation program.              There are 39 beds housed in

    6       the building, and these are youths with behavioral issues

    7                     THE COURT:     And we've already transferred the

    8      programs?

    9                     MR. WESTON:     We've transferred the program --

   10                     THE COURT:     So these have

   11                     MR. WESTON:     I'm sorry.

   12                     THE COURT:     These are the units the clients occupy?

   13                     MR. WESTON:     Correct.       This is the units that --

   14                     THE COURT:    And it's not --

   15                     MR. WESTON:         house the residents in the programs.

   16                     THE COURT:    And it's adjacent to what we just sold?

   17                     MR. WESTON:     Correct.

   18                     THE COURT:    And is it owned by the same people who

   19      bought ... ?

   20                     MR. WESTON:     The party who was the bidder on the

   21      vacant property is under contract to buy this building as well.

   22      And indeed,      I think that closing is occurring today.                He has --

   23                     THE COURT:    Once he assumes this lease, can he

   24      ultimately -- will be the lessor and lessee at that point?

   25                     MR. WESTON:     Correct.       No,   lessor.   JBSCS will be the

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  Case 8-15-71074-reg      Doc 809    Filed 02/15/17   Entered 02/15/17 16:25:34


                                                                              Page 15

    1      lessee.      Third party will continue to own the building.

    2                    THE COURT:     Well, aren't we assigning --

    3                    MR. WESTON:     No, we're assigning the lease to JBSCS.

    4                    THE COURT:    Which is what,       the Jewish Welfare?

    5                    MR. WESTON:     Jewish Board who is administering the

    6      program.

    7                    THE COURT:     So, we're pretty certain that if the guy

    8      wants to do an assemblage you can't kick these people out?

    9                    MR. WESTON:     They've consented to the motion, but

   10      they've been served with it,           they're aware of it, he's got no

   11      objection to the motion.

   12                    THE COURT:    All right.       I'm sure we'll see this one

   13      again.      Anybody want to be heard on this?           How many more years

   14      does your lease have?

   15                   MR. WESTON:      2033.     That's about another 16 years.

   16                    THE COURT:    He'll be the lessee; the Jewish Welfare

   17      Board will be the lessor?

   18                   MR. WESTON:      No.     The Jewish Board will be the

   19      lessee.

   20                   THE COURT:     Lessee.

   21                   MR. WESTON:      They're administering the program that

   22      will house the tenants.         The owner of the building, who is

   23      acquiring the building today, will be the lessor.

   24                   THE COURT:     But he can't terminate this lease

   25      unilaterally?

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  Case 8-15-7107 4-reg      Doc 809 Filed 02/15/17 Entered 02/15/17 16:25:34


                                                                             Page 16

    1                     MR. WESTON:    No.    It's good rent.       It's a healthy

    2        return.

    3                     THE COURT:    No, no, no.       It's fine with me.    I would

    4        like to make sure that it stays what it is.

    5                     MR. WESTON:    Sure, because it maintains, obviously,

    6        continuity of the program and continuity of the client

    7        residents.

    8                     THE COURT:    All right.      He's not objecting.     We'll

    9        take a look at the order, but I'll tell you,             the order is not

   10        going to have a lot of ways for him to get out of this.

   11                     MR. WESTON:    No.    Indeed --

   12                     THE COURT:    All right, I'll grant the motion.

   13                     MR. WESTON:    Thank you, Your Honor.

   14                     Briefly, by way of status, I think we gave a fairly

   15        detailed status report at the hearing as to what was

   16        transpiring with the bid process between the State and

   17        providers on the one hand and Almark on the other.              Your Honor

   18        may we recall that we had received an unsolicited all cash bid

   19        from the Almark Liberty 1 joint venture.              We had put due

   20        diligence requests out to both parties, received responses from

   21        both the State and providers on the one hand and Liberty and

   22        Almark on the other hand.

   23                     I think in the December hearing we were just about to

   24        have both parties appear at the board meeting.              In December,

   25        both parties did, made presentations of their respective offers
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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 17

    1      to the board.      The board had a fairly comprehensive discussion

    2      at that meeting.         Mr. Scharf was also in attendance to hear the

    3      presentations.         The board put out a second set of due diligence

    4      requests to both parties, going to issues such as financial

    5      commitments, capital resources, plans with respect to --

    6                    THE COURT:     Who's buying it?           The State?

    7                    MR. WESTON: The State -- the individual providers

    8      that took the programs are buying the properties.

    9                    THE COURT:     As a group or as individual buildings?

   10                    MR. WESTON:     Individually.        In other words, UCP will

   11      buy the properties that has the residents and the program, that

   12      it's run just like JBSCS is              I'm sorry.        I don't want to

   13      confuse matters.        UCP will buy the buildings that house the

   14      residents of the programs it took.               HRC will buy the buildings

   15      that house the residents' programs it took.                  JBSCS will be

   16      buying the OMH properties, which house the residents that are

   17      covered by his programs.          The State is providing financial

   18      support.

   19                    THE COURT:    To those entities?

   20                    MR. WESTON: To those entities.             With respect to the

   21      OMH properties,        the financial support is going to be through a

   22      grant program.      With respect to the OPWDD programs -- and we'll

   23      spell this out in a motion -- eventually, i t ' l l be through what

   24      they call the PPA program, Prior Property Approval, which is a

   25      support program for traditional bank financing.

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 18

    1                    THE COURT:     But the concept is all of the buildings.

    2      Are both sides' deals predicated on buying all of the

    3      buildings?

    4                    MR. WESTON:     Yes,    substantially all of the buildings.

    5      On the Liberty 1 Almark, they've carved out seven, which are

    6      underwater, which in fact we asked them to carve out.                     But yes,

    7      effectively, they're dealing with all of the remaining

    8      buildings.

    9                    THE COURT:     And the beneficiary of those funds are

   10      essentially the State bond packages?

   11                    MR. WESTON:     The

   12                    THE COURT:    Mortgages.

   13                    MR. WESTON:     The bond holders will be the

   14      beneficiaries to the extent that the debt is all being assumed,

   15      or if it's an all cash deal,           the bonds will be -- I mean, the -

   16

   17                    THE COURT:     Ah.

   18                    MR. WESTON:          mortgage would be paid.

   19                    THE COURT:     So the bids can ...        I get it.       So, one

   20      bid may get you off the hook;           the other is cash?

   21                    MR. WESTON:     Yeah.     One's cash, which is going to pay

   22      off the bonds; the other is going to be an assumption of all

   23      debt,   as well as cash.       Creditors          actually,   the net dollars

   24      to creditors under both bids right now, effectively the s a m e j

   25     -T~~--~~~--difference from the FEGS board's _standpoint and, __ if I

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 19

    1      might,      just after the board meeting, we put out a second due

    2      diligence request, as I was saying, asking information with

    3      respect to plans with regard to the clients themselves,

    4      guarantees that the clients would have continued residency

    5      rights.      Obviously, under the State provider bids, they will.

    6                    Under Almark, there was an agreement to be the

    7      tenants in place for up to 30 months while they negotiated

    8      long-term leases.

    9                    THE COURT:    Well, that's going to affect ...              Well, I

   10      don't know,     I haven't seen it and you guys have to select it.

   11      But one of the things I've learned with these charitable

   12      functions,     charitable bankruptcies, not-for-profit

   13      bankruptcies, is that part of the determination of the Court as

   14      to what is better, higher is easy.               What's better is what

   15      better reflects what's the best way to reflect the intent of

   16      the entity that is now in front of you, as opposed to what's

   17      the highest money that a creditor can get.

   18                    MR. WESTON:     That's absolutely the case.           And indeed,

   19      the board,     in its consideration, has considered its dual

   20      mission or dual duty going to creditors and true to the

   21      continuity of the mission.

   22                    After the board meeting in December and after

   23      receiving responses from both parties, there was a very

   24      comprehensive discussion by the board at a meeting on January

   25      25th, at which both offers were thoroughly vetted by the board.
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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 20

    1      As I said,      from an economic standpoint, they're effectively the

    2      same.       The difference is about $80,000.

    3                     From a mission standpoint, however,           the board felt

    4      rather strongly that the State provider proposal provides

    5      continuity of care and the best assurance for the continued

    6      residents of a very fragile population.

    7                    Their concern was -- and we'll spell it out more so

    8      in the motion -- is that at the end of 30 months,                 if the

    9      Liberty Almark Group doesn't have long-term leases, the notion

   10      of trying to relocate clients and trying to find new properties

   11      for them could have a devastating effect on the client

   12      population.

   13                    THE COURT:    Well, we've been involved in this case

   14      now for a while.

   15                    MR. WESTON: Mm hmm.

   16                    THE COURT:    And all the parties have tried, hopefully

   17      to this point successfully, to take into consideration the

   18      needs of these folks.

   19                    MR. WESTON: And --

   20                    THE COURT:    You've moved a lot of things quickly that

   21      we would not ordinarily do, but for the fact that you had a lot

   22      of folks at risk.

   23                    MR. WESTON: Which --

   24                    THE COURT:    That analysis, at least for me,             is going

   25      to continue, so ...

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 21

    1                    MR. WESTON: Which Your Honor has helped us out

    2      tremendously at the beginning of this case.

    3                    In any event,    the board has designated the state

    4      providers as the potential stalking horse bid.                 They've

    5      authorized a chief wind-down officer, Ms. Pincus,                 to go forward

    6      and negotiate final APAs and settlement agreements with the

    7      state.

    8                    We will bring on a sale motion.            It will establish a

    9      bid process.      And we will ask ultimately for entry of an order

   10      setting forth bid procedures --

   11                    THE COURT:    Now, this is essentially all the

   12      remaining assets?

   13                    MR. WESTON: This is

   14                    THE COURT:     Part assets.

   15                    MR. WESTON:     Well, actually, all of the remaining

   16      assets.     There is one single piece of property and then there

   17      are the interests in the four real estate entities, which we

   18      don't own,     and which we just -- I'm sorry, which are not

   19      properties of FEGS, but which FEGS has an interest in.                     Those

   20      are the Tanya Towers,        (indiscernible), Forsyth and Tonya 2,

   21      which will probably be a subject in a separate sale motion.

   22                    THE COURT:    But if this is a big enough number and

   23      these are all properties in the city?

   24                   MR. WESTON: I'm sorry.

   25                   THE COURT:     Aren't all these properties in the city?

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 22

    1                    MR. WESTON: All these properties are in the city

    2      (indiscernible).

    3                    THE COURT:     So, you're going to want relief.               So,

    4      you've got to let me know where we are in the plan process.

    5                    MR. WESTON: Absolutely.           Absolutely.

    6                    THE COURT:     Because this is going to be a big number.

    7                    MR. WESTON: Yeah.       So,    that's where we are.         Briefly,

    8      on status,     I anticipate that we'll have agreements filed and a

    9      sale motion ultimately filed,           and we'll keep Your Honor

   10      apprised of the timing.

   11                    MR. WESTON:     Just quickly, the Union settlement, as

   12      Your Honor knows,      is approved.         That's been funded, or it will

   13      be funded within the next couple of weeks.                Weinberg's

   14      settlement was approved.          That has been funded.         In fact,       I

   15      spoke to Mr.     (indiscernible) on Friday.             He's indicated that a

   16      substantial portion of the one six has been redesignated to a

   17      lot of metro area charities serving a very similar purpose to

   18      FEGS.   This has been redesignated by the Weinberg Foundation

   19      already.

   20                    THE COURT:     I'm glad we got that one done.

   21                    MR. WESTON: Yes.

   22                    THE COURT:     There were a couple of cases that

   23      followed that -- decisions that would've caused me some issues,

   24      but it's gone.

   25                    MR. WESTON: Lastly, we are in the throes of

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 23

    1      discussions with the Department of Labor trying to fashion a

    2      settlement of WARN and severance claims of the non-union

    3      employees.      You recall, we did the same with the union.                  That

    4      settlement is taking on, really effectively, the same contours,

    5      what's good for the goose is good for the gander, without

    6      looking to give them a better deal or a worse deal.                     I think we

    7      have an agreement in principle and we'll be hopefully

    8      negotiating -- excuse me.

    9                    THE COURT:      So, you got that $3 million, give or

   10      take, out to the employees?

   11                    MR. WESTON: It should be going out within the next

   12      week or two.        It's with the payroll company at this point.

   13                    THE COURT:      Good.

   14                    MR. WESTON:      That's where we are.

   15                    MR.   SCHARF:    Quickly, Your Honor,          just to follow up

   16      on some of the points Mr. Weston made.                   So, one thing we're

   17      going to be handing up right now, or hopefully submitting to

   18      Your Honor,     is a stipulation between the Committee and the

   19      Debtor to give the Committee standing to bring causes of

   20      action,     to assert causes of action, against the Debtor's former

   21      accountant/auditor as well as some of the principals of the

   22      Debtor.     Your Honor had asked, at the beginning of this case,

   23      for an explanation of what had happened here.

   24                   We believe that we will have those laid out very

   25      clearly in a number of complaints.               In addition, we'll also

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  Case 8-15-7107 4-reg     Doc 809     Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                 Page 24

    1      allow the Committee to bring preference actions.                   We're

    2      approaching the two-year mark.                We had hoped that preference

    3      issues could be addressed post-petition -- sorry,                  for

    4      confirmation of a plan.            But, unfortunately,       it looks like

    5      we're not going to be able to do that, and we may bring the

    6      actions to preserve the statute of limitations, but at the same

    7      time, asked to hold off on prosecuting those until a plan is

    8      confirmed.,

    9                    THE COURT:       Well,   I ' l l look at what you filed.         Just

   10      remember the creation of an entity to bring claims on behalf of

   11      the Debtor,     the language of that stip and the ultimate order,

   12      be very careful with.

   13                    MR.    SCHARF:    Yes, Your Honor.

   14                    THE COURT:       There's a lot of litigation these days

   15      about what's the scope, and if it wasn't a transfer,                     that a

   16      litigating trustee does not necessarily have exactly the same

   17      powers as the Chapter 11 Trustee, which would be the debtor in

   18      possession.         So, let's just try to do it right the first time.

   19      I know you guys do, but ...

   20                    MR.    SCHARF:    Your Honor, we've fought off those

   21      claims in many other cases.             So,   I think we've -- I'm hoping

   22      that we have the language down pat at this point, but we, of

   23      course,     continue to updated as

   24                   THE COURT:        All right.

   25                   MR.    SCHARF:         the case law developed.         And in

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  Case 8-15-7107 4-reg     Doc 809    Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                                Page 25

    1      addition,     just one final comment on the negotiation of the

    2      grand sale of all of the properties.               As Your Honor is aware,

    3      that was a very long negotiation, which involved a lot of back

    4      and forth behind the scenes, instead of in front of the Court.

    5      And we're happy that the Debtor has obtained the bid it's

    6      obtained and is moving forward with the sale process.                     Of

    7      course, we hope to see that increase --

    8                    THE COURT:     No, that's -- it's a --

    9                    MR. SCHARF:         as matters go forward.

   10                    THE COURT:     I well can appreciate the complexity of a

   11      deal like that, so ...

   12                    MR. SCHARF:     Sure.     And in addition,      just with

   13      respect to Your Honor's comments about continuity of care and

   14      the Debtor's mission, we were lucky enough during this

   15      negotiation to have the Hebrew Homes case come out in the

   16      Second District, which has given us a very helpful roadmap,

   17      which frankly, we have not had in cases of a similar nature.

   18      So, there's been that level of guidance in this case as well.

   19                    THE COURT:    All right.        I agree with those cases.

   20                  MR. WESTON: When the stipulation gets filed, Your

   21      Honor,   on the docket

   22                  THE COURT:      Just file it.

   23                  MR. SCHARF:       Okay.

   24                  THE COURT:      Give it to me.

  25                   MR. SCHARF:       Very good.

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  Case 8-15-71074-reg      Doc 809   Filed 02/15/17     Entered 02/15/17 16:25:34


                                                                               Page 26

    1                   THE COURT:     All right.

    2                   MR. SCHARF:      Thank you.

    3                   THE COURT:     Thank you, all.         Well, he's going to want

    4      a hearing -- he's going to want a date.                 Do you want me to put

    5      down a date for you for next status?              When do you think you

    6      would have something you want to tee up?                 I don't want to make

    7      you come in twice.

    8                   MR. WESTON:      How about if we confer and get back to

    9      you,   Judge?

   10                   THE COURT:     Just get back and pick a date.

   11                   MR. WESTON:      Good.      Thank you.      We will, Your Honor.

   12                   THE COURT:     We didn't resolve the carry to whatever

   13      date, concise explanation.            Anybody on the phone want to be

   14      heard or even still on the phone?              Anybody on the phone gets a

   15      million dollars.        Anybody left?       Never leave early.

   16                   WOMAN 1:     Yes, Your Honor.

   17                   THE COURT:     Thank you.

   18                   MR. WESTON:      Thank you, Judge.          We'll submit both

   19      orders.

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  Case 8-15-7107 4-reg    Doc 809 Filed 02/15/17 Entered 02/15/17 16:25:34


                                                                        Page 27

    1                                     I N D E X

    2


    3                                      RULINGS

    4                                                           Page         Line

    5      Motion to Approve Bid Procedures, granted            16           12

    6      Motion to Authorize Assumption,        granted       12           17

    7


    8


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  Case 8-15-7107 4-reg    Doc 809   Filed 02/15/17      Entered 02/15/17 16:25:34


                                                                                  Page 28

    1                             C E R T I F I C A T I O N

    2


    3              I, Sonya Ledanski Hyde, certified that the foregoing

    4      transcript is a true and accurate record of the proceedings.

    5
                                        Digitally signed by Sonya Ledanski Hyde

    6
          Sonya                         DN: cn=Sonya Ledanski Hyde,
                                        o=Veritext, ou,


    7     Ledanski HYd e                email=digital@veritext.com, c=US
                                        Date: 2017.02.15 16:19:45 -05'00'


    8      Sonya Ledanski Hyde

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  Case 8-15-7107 4-reg         Doc 809       Filed 02/15/17             Entered 02/15/17 16:25:34


      [& - assume]                                                                                       Page 1

                &                2017 1: 17 28:25                             9             almark 16:17,19
                                 2033 13:8 15:15                                              16:22 18:5 19:6
           3:3,11,18,19                                               960,000 13: 18
                                 21 2:4,6 8:5 12:21                                           20:9
        4:8, 15 5:9 6:3,19                                                    a
                                   13: 13                                                   alternative 9:7
        7 :4,4, 11, 15
                                 25,000 10:7,11                       able 24:5             amount 10:19
                 0                                                    absolutely 19: 18     analysis 20:24
                                   11 :7
                                 25th 19:25                             22:5,5              annual 13:19
                                 27th 9:18                            accountant 23 :21     anticipate 22:8
                                 28th 13:21                           accurate 28:4         anybody 6:6
        1 6:21,23 9:15
                                                                      acquiring 9:5           12:1715:13 26:13
          16:1918:5 26:16
                                                3
                                                                        15:23                 26:14,15
        1,050,000 9:20
                                                                      act 8:24              apartments 14:3
        1,475,000 11 :6          3 23:9
                                                                      action 23 :20,20      apas 21:6
        1,495,000 11: 10         30 19:7 20:8                         actions 24:1,6        appear 16:24
          11 : 11                300 28:22                            adam 5:6 6:7,12       appearance 7:1
        1,515,000 8:21           330 28:21                            addition 23 :25       apples 10:8,8,21
          10:3                   34th 4:18                              25:1,12               10:21
        1.2 13:19                37th 4:3                             additional 9:24       appreciate 25: 10
        1.5 10:4,13 11:4         39 14:4,5                            addressed 24:3        apprised 22: 10
        10005 4:4                               4                     adjacent 7:22 8:7     approaching 24:2
        10017 4: 19
                                  40 4:3                                9:3,12 12:20        approval 8: 14,20
                  3:14
                                  400 5:11                              14: 16                11:17 17:24
        10166 3:7
                                                5                     adjusted 10:7,10      approve 7:20 27:5
        11 24:17
                                                                      administered 8:10     a{lproved 22:12
        11021 5:4                515,000 8:22
                                                                      administering           22: 14
        111 5:3                  56 6:2
                                 560 5:19                               15 :5,21            approving 2:3
        11501 28:23
                                     :                                adult 14:5            approximately
                  5:12           58 6 2
                                >-------·--·-··-·---·-··----'         affect 19:9              8:6
                  1: 15 5:20            6_ _ _
                                ,--~---                         __j   afternoon 6:4,15      area 22:17
        11757 4:11
                                 6 1:17                                 6:24 7:3,6,7,8,10   a rtu ra 4: 8, 13
        12 27:5,6
                                  6500 8:6                              7:12,14,19 8:11     asked 18:6 23:22
        15 28:25
                                                7                     agree 25: 19             24:7
        156 2: 1                ,-----·-·--- -·-·---··----·-------'
                                                                      agreeing 13: 15       asking 19:2
        16 15:15 27:5             764 2:5
                                                                      agreement 9: 15       assemblage 15:8
        165 4:10                  779 2:3
                                  780 4:18                              19:6 23:7           assert 23 :20
        17 27:6
                                                                      agreements 21 :6      assets 21 :12,14,16
                8:12              787 3: 13
                                                                        22:8                assign 7:22 12:20
     ,i 19th 8:15                 793 2:10
                                                                      agudelo 3:24 6:15     assigned 12:24
     ; 1:39 1: 18                               8
                                                                        6:16,18 7:3,3       assigning 15:2,3
                 2                8-15-71074 1:3                      ah 18: 17             assignment 2: 11
       2 8:19 10:2 21:20          80,000 20:2                         ahead 6: 11 10:25        13:5
                                  800 3:20                            alfonse 5: 18         assume 7:22
                                                                      allow 24:1               12:20 13:7,8

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Case 8-17-08043-reg      Doc 29   Filed 09/13/18                  Entered 09/13/18 23:25:16
  Case 8-15-7107 4-reg    Doc 809   Filed 02/15/17                    Entered 02/15/17 16:25:34


      [assumed - competitive]                                                                          Page 2
                                    - ----   -   -   -- - - - -


      assumed 12:25          beinhorn 13:13                         11:14               caveat 12:6
        18: 14               believe 11:19 12:2                   briefly 16:14 22:7    central 1: 15 5: 18
      assumes 14:23            23:24                              bring 21:8 23:19        5:20
      assumption 2: 10       beneficiaries                          24:1,5,10           certain 2:117:21
        13:5 18:22 27:6        18:14                              broker 8:25              15:7
      assurance 20:5         beneficiary 18:9                     brooklyn 2:4,6        certainly 11: 19,23
      attendance 17:2        benzija 4: 1 7:8                       7:22 8:5            certified 28:3
      attorney 3 :4, 12      berkoff 5: 14                        building 8:79:12      chapter 24:17
        3:19 4:2,9,16 5:2    berkowitz 5 :6 6:7                     12:21,22 14:6,21    charitable 19: 11
        5:10,17                6:12                                 15: 1,22,23            19:12
      auction 2:5 8:16       best 11 :20 12:3                     buildings 17 :9, 13   charities 22: 17
        8:19 10:1              19:15 20:5                           17:1418:1,3,4,8     checking 6:8
      auditor 23 :21         better 9:16 10:13                    burton 2:7,13 5:7     chief 21 :5
      authorize 27:6           19:14,14,15 23:6                     6:4,12              children 2:12 3:19
      authorized 21 :5       bid 2:3 8:13,14,22                   buy 14:2117:11          6:19 7:5
      authorizing 2: 10        9:9, 18, 19,21,22                    17:13,14            circulated 13 :25
      avenue 3 :6, 13          9:24,24,24 10:4,5                  buyer 9:4,14 12:7     city 5:11,12 12:12
        4:10,18                10:9,21,22,24                        12:8                  21 :23,25 22: 1
      aware 15: 10 25:2        11:4,8,17 12:1                     buying 17:6,8, 16     claims 2:7 23 :2
               b               16:16,18 18:20                       18:2                  24:10,21
                               21:4,9,10 25:5                               C           clear 2:6 8:20
      b 1:21
                               27:5                                                        12:4
      back 8:1211:7                                               C  3:1 6:1 28:1,1
                             bidder 8:21 10:3                                           clearly 23 :25
        12:23 25:3 26:8                                           calendar 7:20
                               10:18 14:20                                              clerk 6:2,20 7:1
        26:10                                                     call 17:24
                             bidding 10:8,21                                              7:17
      background 8:23                                             capital 17:5
                             bids 9:4,8, 16, 19                                         client 16:6 20: 11
      backup 10:5                                                 care 20:5 25:13
                               18:19,2419:5                                             clients 14:12 19:3
      bank 17:25                                                  careful 24: 12
                             big 18:25 21:22                                               19:4 20:10
      bankruptcies                                                carol 7: 12
                               22:6                                                     closing 10:7, 12
        19:12,13                                                  carrie 3:97:10
                             board 2:12 3:19                                               14:22
      bankruptcy 1:1                                              carry 26:12
                               6:187:415:5,17                                           come 25:15 26:7
        1:13,23 12:8                                              carve 18:6
                               15:1816:2417:1                                           comes 10:22
      basis 10:8,21                                               carved 18:5
                               17:1,3 19:1,19,22                                        comment 25: 1
        13:20                                                     case l :3 8:24
                               19:24,25 20:3                                            comments 25:13
      battaglia 4: 1 7:8                                            12:23 19:18 20:13
                               21 :3                                                    commitments
      beds 14:5                                                     21:2 23:22 24:25
                             board's 18:25                                                 17:5
      beginning 21 :2                                               25:15,18
                             bond 18:10,13                                              committee 4: 16
        23:22                                                     cases 22:22 24:21
                             bonds 18: 15,22                                              4:17 6:17 9:23
      behalf 2:8,13 6:13                                            25:17,19
                             boston 3:22                                                   10:423:18,19
        6:17,18 7:4,9,11                                          cash 16:1818:15
                             bought 14:19                                                 24:1
        7: 13 24:10                                                 18 :20,21,23
                             boylston 3 :20                                             company 23: 12
      behavioral 8:9                                              caused 22:23
                             breakup 10:6,17                                            competitive 12: 1
        12:24 14:6                                                causes 23: 19,20
                               10:17,18,19 11:6

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Case 8-17-08043-reg      Doc 29    Filed 09/13/18      Entered 09/13/18 23:25:16
  Case 8-15-7107 4-reg    Doc 809     Filed 02/15/17     Entered 02/15/17 16:25:34


      [complaints - estimate]                                                              Page 3

         complaints 23 :25     court 1:1,13 6:6,8      deal 18:15 23:6,6      dolgin 8:24 9:9
         complexity 25:10        6:11,22 7:18 8:2        25: 11               dollars 18:23
         comprehensive           8:179:110:10,14       dealing 18:7             26:15
           17:1 19:24            10:16,25 11:3,7       deals 18:2          1  dual 19: 19,20
         concept 18:1            11:10,13,16 12:6      debt 18: 14,23       I due 16:19 17:3
         concern 20:7            12:11,15,17,18        debtor 1:9 5:2       I 19: 1
         concise 26: 13          13:11,15 14:2,7         6:13 9:23 10:4     I duryea 2:4,6 7:21
     1   confer 26:8             14:10,12,14,16,18       1 1: 18 23: 19,22  I 8:5 12:21 13:13
         conference 2: 1         14:23 15:2,4,7,12       24:11,17 25:5      I duty 19:20
           7:24                  15:16,20,2416:3       debtor's 23:20
                                                                           1---- --     e -- - - ~

         confirmation 13 :6      16:8,12 17:6,9,19       25:14
                                                                              e 1:21,21,22 3:1,1
           24:4                  18:1,9,12,17,19       debtors 2:4
                                                                                6:1,1 27:128:1
         confirmed 24:8          19:9,13 20:13,16      december 8:15
                                                                              earlier 8:23 10: 1
         confronted 11 :24       20:20,24 21: 11, 14     16:23,24 19:22
                                                                              early 12:23 26:15
         confuse 17:13           21:22,25 22:3,6       decisions 22:23
                                                                              eastern 1:2
         connection 13: 1        22:20,22 23:9,13      dennison 7:12,13
                                                                              easy 19: 14
         consented 15:9          24:9,14,24 25:4,8     department 4:2
                                                                              economic 20: 1
         consideration           25: 10, 19,22,24        5:16 7:9 23:]
                                                                              ccro 1:25
           11:23 19:19 20:17     26:1,3,10,12,17       deposit 11 :2,2
                                                                              effect 20: 11
         considered 19: 19     court's 8:20              13:23,24
                                                                              effectively 18: 7,24
         consistent 9:22       courthouse 5: 19        designated 10:4
                                                                                20:1 23:4
         consultation 9:23     covered 17: 17            21 :3
                                                                              elaborated 9: 1
         containing 8:6        cox 4:8                 detailed 16: 15
                                                                              elements 9:21
         continue 15: 1        creation 24: 10         determination
                                                                              employees 23 :3
           20:25 24:23         credit 10:11,19           13:7 19:13
                                                                                23:10
         continued 19:4        creditor 4:9, 17        devastating 20: 11
                                                                              employment 1:7
           20:5                  19: 17                developed 24:25
                                                                                2:8,136:3
         continuity 16:6,6     creditors 4: 16         developing 9:7
                                                                              encumbrances
           19:21 20:5 25:13      11 :20 18:23,24       development 9:5
                                                                                2:7
         contours 23:4           19:20                 developmental
                                                                              entered 8:15
         contract 9: 11, 12    curious 11 :3             3:4
                                                                              entities 17:19,20
           9:21 14:21          current 13:9,20         difference 18:25
                                                                                21: 17
         contractor 10: 15     currently 8: 10           20:2
                                                                              entity 19:16 24:10
         corporation 3: 12       12:8 13:17            diligence 16:20
                                                                              entry 8:13 21:9
           7:16                           d              17:3 19:2
                                                                            I equity 9:20 10:4
         correct 11 :5 12:9                            disabilities 3:5
                               d 4:21 6:1 27:1                                essentially 18: 10
           14:13,17,25                                 discussion 17: 1
                               d'amato 5: 18                                    21: 11
         counsel 7:15                                    19:24
                               date 9:19 26:4,5                               establish 21 :8
         country 28:21                                 discussions 23: 1
                                 26:10,13 28:25                               estate 8:25 11 :20
         couple 22: 13,22                              disposing 9:8
                               david 8:20                                       21:17
         course 10:20                                  district l :2 25: 16
                               davini 7: 13                                   estate's 11 :20
           24:23 25:7                                  docket 25 :21
                               days 24:14                                     estimate 12:3


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Case 8-17-08043-reg                               Doc 29   Filed 09/13/18         Entered 09/13/18 23:25:16
  Case 8-15-7107 4-reg                             Doc 809    Filed 02/15/17        Entered 02/15/17 16:25:34


      [event - house]                                                                                                     Page 4
                                                                                                         -   - ---



       event 11: l 21 :3                                                    given 10:18 13:2
                                                              financing 17:25                             hard man 3:9 7:6
       eventually 17 :23                                      find 20: 10     25:16                         7:10,10
       exactly 24:16                                          fine 16:3     glad 22:20                    he'll 10:11 15:16
       exclusive 8:24                                                       go 6:11 10:25 21:5 health 12:24
                                                              first 8: 1,3, 13
       excuse 8:16 23:8                                         24:18         25:9                        healthy 16:1
       explanation 23:23 fit 13:3                                           going 9:13 12:6               hear 17:2
           26:13                                              floor 4:3,18    13:316:1017:4               heard 12:17 15:13
       expressed 8: 18                                        fojp 3:12 7:15  17:2118:21,22                 26:14
       extends 13:8                                           folks 20: 18,22 19:9,20 20:24               hearing 2:1,3,10
       extent 11 :24                                          follow 23:15    22:3,6 23:11,17               8:16 16:15,23
     ,     18:
            -
                14 _______________ ........, followed 22:23
      ...............   ................... _.,
                                                                              24:5 26:3,4                   26:4
                          f                                   fool 12:11    good 6:4,15,23,24          I  hebrew       25: 15
     ,---f----: -- ·----:-·-·· · - ·- ··-·-·-:···1---------' foregoing 28 :3  7 :3 ,6, 7, 7, 10, 12, 14 held 8:19
            1 2 1 4 13 2 8
                                                              form 12:913:25  7:1916:123:5,5              helped 21:1
       fact 18:6 20:21
                                                              former 23:20    23:13 25:25 26:11 helpful 25: 16
           22:14
                                                              forsyth 21 :20goose 23:5                    higher 9:16 10:12
       fair 11 :22 12 :2
                                                              forth 21:1025:4
                                                                          ,grand 25:2                       10:22 11:] 1 19:14
       fairly 16:14 17:1
                                                              forward 21:5 25:6
                                                                          : grant      12:1816:12 highest 19:17
       family 2:12 3:19
                                                                25:9          17:22                       hmm 20:15
           6:19 7:4                                                       1

                                                              fought 24:20l granted 10:6                  hock 5:9
       farr 3:11 7:15
                                                              foundation 22:18
                                                                          : 13:10 27:5,6                  hold 6:20 24:7
       fashion 23: l
                                                              four 21:17  I granting 12:7                 holders 18:13
       february 1: 17                                                     ,
           8:1910: 213 :21                                    fragile 20:6jgray 3:187:4                   homes 25:15
                                                              frankly 25: 17
                                                                          ! great 5:3,4                   hon 1:22
           28:25                                                          .
       federal l:                              :              free 2:68:2012:4
                                                                          !greater 12:7                   honor 6:4,15,24
                                 145 19
     , federation l: 2 :8 friday 22:15                                    I grossman 1:22                   7:6,8,12,14,19,25
                                           7
             :         : :                                    front 19:16 25:4
                                                                          ! group 9:20 17:9                 8:4,11,23 12:19
           2 13 6 2 7 2
     l"                  -                                 . functions 19:12  20:9                          12:1916:13,17
     1          10 6 171718
       ie~ : : ' ' '                                        ' funded 22: 12,13
                                                                          I group's 10:4                    21: l 22:9, 12
              16
     ! fees       11:14                                          22:14    I gu 4:67:7,8                     23:15,18,2224:13
     I feet          :                                        funds 18:9  I guarantees 19:4                 24:20 25:2,21
                 86
     ! fegs          :              :              :          funny 11:13 I guidance 1:7 2:8                26:11,16
                  6 13 7 21 8 4
     · 8:8 12:21 13:12                                                  g 1 2:14 6:3 25:18                honor's 25:13
                                                                          ! guy 11 :3 15:7                hook 18:20
         18:25 21 :19,19                               g 6:1              ,
         22:18                                         gallagher 3:11     I guys 19:l_Q__~~:}~-i hope 25:7
     i felt 20:3                                         7: 15            \               h             \ hoped 24:2
     : file 25 :22                                     gander 23:5        1·-h;i;;;.in        :l
                                                                                            4 78  :     · hopefully 20:16
     i
                                                                          I hamroff 5:9                     23 :7 ,l 7
     i filed 8: 12 22:8,9                              garden 5:11,12
                                                                          ,                               hoping 24:21
          24:9 25:20                                   garfunkel 5: 1 6:7 i hand 16: 17,21,22
                                                                                                          horse 8:22 9:17
     1 final 21:6 25:1                                   6:12             I handing 23: 17
                                                                          ·                                 21 :4
     / financial 17 :4, 17                           i getting 10: l l    I happened 23 :23
          17:21                                      I give 8:1 11:7 23:6
                                                                            happy 25 :5                   house 14:4, 15
                                                                                                            15:2217:13.15,16
                                                         23:9,19 25:24
     ~~~-----···---·--"---·---·---·! _______ _

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  Case 8-15-7107 4-reg    Doc 809   Filed 02/15/17     Entered 02/15/17 16:25:34


     [housed - needed]                                                                     Page 5

      housed 8:9 12:22       jerome 10:23            left 26:15                market 8:25
        14:5                 jewish 2:12 3:19        legal 28:20               marketing 11 :24
      houses 9:13              6:18 7:4 15:4,5,16    leslie 5:14               marvin 13:13
      hrc 17: 14               15:18                 lessee 12:21 14:24        matter 1:5
      hyde 2:25 28:3,8       joint 9:13,14              15:1,16,19,20          matters 6:2 17:13
                               16:19                 lessor 13:11,12,12          25:9
                             jonathan 3:24              13:14 14:24,25         mean 10:10 18:15
      ilan 4:21 6:14
                               6:16 7:3                 15:17,23               mechanic's 12:5
      including 8: 17
                             jones 4:15              level 25:18               meeting 16:24
      increase 25 :7
                             judge 1:23 26:9         levitan 8:20 9:10            17:2 19: 1,22,24
      increases 13: 18
                               26: 18                   9: 11 l 0:3,6 11:7     methods 9:7
      independent 7:23
                                    12:23            liberty 16:19,21          metro 22:17
      indicated 10: 1
                                      5:16              18:5 20:9              million 9: 15 10:5
         22:15
                                       k             liens 2:7 8:21 12:4          10:13 11:4 12:12
      indiscernible        t--------------·---i
                                                        12:5                      13:19 23:9 26:15
         10:23 21 :20 22:2   kalmon 8:24 9:9
                             keep 22 :9              ligee 4:6 7:8             mineola 28:23
         22:15
                             kick 15:8               limitations 24:6          minimum 9:20
      individual 17:7,9
                             kind 9:4                lindenhurst 4: 11         mission 19:20,21
      individually
                             king 10:4               line 27:4                   20:3 25:14
         17: 10
                             kings   9:19            litigating 24:16          mm 20:15
      information 19:2
                             know 6:22,22 9: 4       litigation 24: 14         money 19: 17
      intent 19: 15
                               10:14 11:18 19:10     Ile 9 :2 o l3:13          months 19:7 20:8
      interest 8:18
                               22:4 24:19            lip 3:11,18 4:1 5:9       moritt 5:9
         21: 19
                             knows                                             mortgage 18:18
      interested 3:5,12               22 : 12        located 2:4 8:5
                                                     long 10:16 12:21          mortgages 12:5
         5: 10                         1                13 :2,4,4 19:8 20:9       18:12
      interests 11 :20
                             labor 4:2 7:9 23:1         25:3                   motion 2:5,10
         21: 17
                             laid 23 :24             longer 11: 18               7:22 8:3,11,12,15
      involved 20: 13
                             landlord 13:24          look 12:15 16:9              12:18,20 13:22
         25:3
                               14: 1                    24:9                      15:9,11 16:12
      islip 1:15 5:18,20
                             language 24:11,22       looking 12:4 23:6            17:23 20:8 21 :8
      issue 8:25
                             lastly 22:25            looks 24:4                  21 :21 22:9 27:5,6
      issues 11:23 14:6
                           ' law 24:25               lot 8:6 9:2,6 16:10       motions 7:20 8: 1
         17:4 22:23 24:3
                             learned 19: 11             20 :20 ,21 22 :17      moved 20:20
      it'll 17:23
                             lease 2:12 7:22            24:14 25 :3           _!!!~~!n g 25: 6
                j              12:20 13:2,5,6,8,9    lucky 25:14 _                       n
                                                                              !----·----~-·--
      january 9: 18            13:17,1914:23                   Ill             n 3:1 6:1 27:1
         19:24                 15:3,14,24
                                                     m 5:18                      28:1
      jbfcs 2: 13            leased 8:8
                                                     ma 3:22                   nature 13:225:17
      jbscs 8:10 9:13        leases 13:1 14:2
                                                     n1aintains 16:5           necessarily 24: 16
         12:25,25 13:3,10      19:8 20:9
                                                     man 6:21,23               neck 5:3,4
         13:23 14:1,25       leave 26: 15
                                                     mark 24:2                          11:18
         15:3 17:12,15       Iedanski 2:25 28:3
                               28:8
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  Case 8-15-71074-reg       Doc 809     Filed 02/15/17          Entered 02/15/17 16:25:34


      [needs - providing]                                                                             Page 6

      needs 20:18             old 28:21                       paying 13:9               principals 23 :21
      negotiate 21 :6         omh 7:11 17:16                  payroll 23: 12            principle 23 :7
      negotiated 9: 15          17:21                         people 3:4 6:8            prior 17:24
        19:7                  once 14:23                        14:18 15:8              probably 21 :21
      negotiating 23:8        one's 18:21                     petition 24:3             problem 9:3
      negotiation 25: 1,3     opposed 19:16                   phillips 4:8              procedures 2:3
        25:15                 opwdd 7:1117:22                 phone 6:6,9 7: 1            8:13,14 9:18,22
      net 10:2418:23          order 2:3 8:13,14                 26:13,14,14               10:9 21:10 27:5
      never 26:15               8:16 9:18 12:7,9              pick 26: 10               proceed 7:25
      new 1:2, 15 2:6 3:7       12:1513:22,25                 piece 21:16               proceeded 10: 1
        3:14 4:2,4,19 7:9       16:9,9 21:9 24:11             pieces 9:14               proceedings 28:4
        13:24 20:10           orders 26: 19                   pincus 21 :5              process 11 :24
      non 23:2                ordinarily 20:21                place 2:4,6 7:21            12:1 16:16 21:9
      notice 8:16             original 8:22                     8:5 12:21 13:13           22:4 25:6
      notion 20:9               10: 18                          19:7                    procuring 9:4
      november 8:12,12        outside 12:8                    plan 13:4 22:4            profit 19: 12
      number 6:2 ] 2:25       overbid 9:20                      24:4,7                  program 8:9 9: 13
        21 :22 22:6 23:25     owned 7:21 ,23 8:7              plans 17:5 19:3             12:22,23 13:]
      ny 2:5 3:7,14 4:4         9:3 14:18                     plaza 1: 14 5 : 11, 19      14:5,9 15:6,21
        4:11,]9 5:4,12,20     owner 8:49:14                   please 6:20 7:1             16:6 17: 11,22,24
        28:23                   15:22
                             '""""-"""""""""""-"~-~--"----j
                                                              pm 1:18                     17:25
      nys 3:4                                                 point 11:21 13:5          programs 12:24
                             ,----""---------~-----<            14: 24 20: 17 23 : 12     14:8,15 17:8,14
                0
                              p 3:1,1 6:1                       24:22                     17: 15, 17,22
      o 1:21 6:1 28:1         p.c. 5:1
                              pachulski 4: 15                 points 23 : 16            properties 9:8
      objecting 13:16
                                  :                           population 20:6             17:8,11,16,21
        16:8                    6 14
                                                               20:12                      20: 10 21: 19,23,25
      objection 13: 17        packages 18: 10
                              page 27 :4                      portion 22:16               22: l 25:2
        15: 11
                              paid 13 :2 l 18 : 18            possession 24: 18         property 2:4,6, 1]
      obligations ] 3: 10
                                                              Post 24:3                   7:21,23 8:5,8, 18
      obtained 25:5,6         parce I 8 :4 9 :2
                              park 3 :6                       potential 21 :4             8:25 9:3, 14 11: 18
      obviously 16:5
                              parking 8 :6                    powers 24: 17               11 :25 12: 12,25
        19:5
                                                              ppa 17:24                   14:2117:2421:16
      occupy 14:12            part 8:25 9:2
                                                              predicated 18:2           proposal 20:4
      occurring 14:22           19:13 21:14
                              parties 8 : 17 , 17             preference 24: 1,2        proposed 13:22
      offer ] 2:2
                                                              presentations             prosecuting 24:7
      offers 16:25 19:25        13:25 16:20,24,25
                                                                16:25 17:3              provider 19:5
      office 3:4 5:18           17:4 19:23 20:16
                                                              preserve 24:6               20:4
      officer 21 :5           party 3:5,12 5:10
                                7:23 8:7 9:3 14:20            pretty l 5 :7             providers 16: 17
      official 4: 16
                                    :                         previously 8: 18            16:2117:721:4
      oh 6:10,237:7             15 1
                                                                9: 1                    provides 20:4
      okay 7: 18,25 11: I     pat 24:22
                                                              price 10:12 11:22         providing 17: 17
        12:16 25:23           pay 11:518:21


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Case 8-17-08043-reg      Doc 29    Filed 09/13/18      Entered 09/13/18 23:25:16
  Case 8-15-7107 4-reg      Doc 809   Filed 02/15/17     Entered 02/15/17 16:25:34


      [prudential - stipulation]                                                            Page 7
                                                               - - - --


       prudential 3 :21      remit 13:23               rooms 14:4              seventh 3:13
       purchase 9: 12, 15    rent 13:20,20,21          ropes 3:18 7:4          severance 23:2
         10: 12                16:1                    rulings 27:3            sides 18:2
       purpose 22: 17        replace 13:23             run 17:12               similar 22: 17
       put 16:19 17:3        report 16: 15                          s            25:17
         19:1 26:4           represents 11 :2                                  single 21 : 16
                                                       s 2:7,133:15:7
                  q          request 19:2                                      six 22:16
                                                         6:1
                             requests 16:20                                    sold 14:16
       qualified 9:23,24                               sale 2:3,5,5 7:20
                               17:4                                            solutions 28:20
       quickly 20:20                                     8:3,14,16,20 9:15
                             required 8: 17                                    sonya 2:25 28:3,8
         22:11 23:15                                     11:19 21:8,21
                               9:21 10:8                                       sorry 7:7 9:25
                  r                                      22:9 25:2,6
                             requirements                                         13:13 14:1117:12
                                                       saying 19:2
       r 1:213:16:128:1        9:22                                              21:18,24 24:3
                                                       scenes 25:4
                             requires 13:22                                    south 4:10
                                                       scharf 4:21 6:14
       ratchets 13: 19       residency 19:4
                             i                                                 space 8:6
                                                         6:14,1717:2
     : rate 13: 18         ' residential 2: 11                                 spell 17:23 20:7
                                                         23: 15 24: 13,20,25
       real 2:4,11 7:21        8:9 12:22 13:6                                  spigel 3:16 7:14
                                                         25:9,12,23,25
         8:5,24 12:25          14:3                                              7: 15
                                                         26:2
         21: 17              residents 14:15                                   spirited 10:2
                                                       scheduling 2:5
       really 9:4 23:4         16:7 17:11,14,15                                spoke 22:15
                                                       scope 24:15
       reasonable 11 :23       17:1620:6                                       square 8:6
                                                       second 8: 11 10:22
         12:2                resolve 26: 12                                    stalking 9: 16 21 :4
                                                         17:3 19:1 25:16
       recall 12:25 16: 18 resources 17:5                                      stan 5:22 6:24
                                                       security 13 :23,24
         23:3                respect 8:3 9:5                                   standing 23: 19
                                                       see 15: 12 25:7
       receive 9: 19 12:3      11 :25 17:5,20,22                               standpoint 18:25
                                                       seek 8: 19 11 : 17
       received 9:8,9          19:3 25:13                                        20:1,3
                                                       seeking 8: 13
         10:13 11:12,22      respective 16:25                                  stang 4: 15
                                                       seeks 13:22
         16: 18,20           responses 16:20                                   stank 6: 14
                                                       seen 19: 10
       receiving 19:23         19:23                                           state 4:2 7:1,9
                                                       select 19: 10
       record 28:4           retained 8:24                                        16:16,2117:6,7
                                                       sell 12:4
       redesignated          return 16:2                                          17:1718:1019:5
                                                       separate 21 :21
         22: 16, 18          richarcl 4:13                                       20:4 21:3,7
                                                       served 8:15 15:10
       reflect 19: 15        right 9:5 12:7,14                                 states 1:1,13 5:16
                                                       service 1:7 2:8,14
       reflects 19:15          15:12 16:8,12                                     6:25
                                                         3:19 6:3,19 7:5
       reg 1:3                 18:24 23:17 24:18                               status 2:17:248:1
                                                       services 2:12 3:12
       regard 19:3             24:24 25:19 26:1                                   16:14,15 22:8
                                                         7: 15
       rehabilitation        rights 19:5                                         26:5
                                                       serving 22: 17
         14:5                risk 20:22                                        statute 24:6
                                                       set 9:1817:3
       relief 22:3           road 5:3 28:21                                    stays 16:4
                                                       setting 21: 10
       relocate 20: 10       roadmap 25: 16                                    stip 24: 11
                                                       settlement 21 :6
       remaining 18:7        robert 1:22                                       stipulation 23: 18
                                                         22:11,14 23:2,4
         21: 12, 15          robin 3:16 7:14                                     25:20
                                                       seven 18:5
       remember 10:17
         11: 13 24: 10
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      [stocking - worseJ                                                                                                    Page 8
                                 - -   -                                                                    ----   - ----


      stocking 8:22          thing 23:16                                u                           warn 23:2
      strategies 13:4        things 12:13                                                           way 8:23 16:14
                                                              u.s. 1:23 5: 17
      strawn 3:3 7:11          19:1120:20                                                             19:15
                                                              ucp 17:10,13
      street 3:20 4:3        think 9: l 11 :22                                                      ways 16:10
                                                              ultimate 24: 11
      strongly 20:4            14:22 16:14,23                                                       we've 13:24 14:7
                                                              ultimately 9:5
      subject 8:11 9:16        23:6 24:21 26:5                                                        14:9 20:13 24:20
                                                                12:l 14:24 21 :9
        21 :21               third 4:18 7:23                                                          24:21
                                                                22:9
      submit 9: 19 26: 18      8:7 9:2 15:l                                                         vveek 23: 12
                                                              uncertainty 13:3
      submitted 12: 10       thoroughly 19:25                                                       weeks 22:13
                                                              underwater 18:6
      submitting 23: 17      throes 22:25                                                           wein berg 22: 18
                                                              underwent 12: 1
      substantial 22:16      time 6:21 13:5                                                         weinberg's 22: 13
                                                              unexpired 2: 11
      substantially 18:4       24:7,18                                                              welfare 15 :4, 16
                                                              unfortunately
      successful 8:21        timing 22:10                                                           wellwood 4: 10
                                                                24:4
        10:3,18              today 7:20 14:22                                                       weston 2:7,13 5:7
                                                              unilaterally 15 :25
      successfully 20:17       15:23                                                                  6:4,5,7, 10, 12, 12
                                                              union 22: 11 23 :2
      suite 28:22            tonya 21 :20                                                             7:19 8:3 10:11,15
                                                                23:3
      supplemented           touch 13:24                                                              10:20 11:1,5,9,11
                                                              united 1 : 1, 13 5: 16
        11 : 1               tower 3:21                                                               11:15,1712:9,14
                                                                6:25
      support 17: 18,21      towers 21 :20                                                            12:16,1913:12,17
        17:25                traditional 17 :25                                                       14:4,9,11,13,15
                                                              unknown 1:25
      sure 8:2 15: 12        transcribed 2:25                                                         14:17,20,25 15:3
                                                              unsecured 4: 16
        16:4,5 25:12         transcript 28:4                                                          15:5,9,15,18,21
                                                              unsolicited 9:9
                t            transfer 24: 15                                                          16:1,5,11,13 17:7
                                                                16: 18
                             transferred 8:9                                                          17: 10,20 18:4, 11
      t 5:6 28:1,1                                            updated 24:23
                               14:7,9                                                                 18:13,18,21 19:18
      take 11:16 16:9                                         use 13:10
                             transfers l3: 1                                                          20:15,19,23 21:1
        20:1723:10                                                      V
                             transpiring 16: 16                                                       21:13,15,24 22:1
      tanya 21 :20
                             tremendously                                                             22:5,7,11,21,25
      taxes 13:21                                             vacant 7:21 8:4
                               21 :2                                                                  23:11,14,16 25:20
      tee 26:6                                                  9:6 14:21
                             tried 20:16                                                              26:8,11,18
      tele 7:5                                                vendee 9:12
                             true 19:20 28:4                                                        we'll 26:18
      telephonically 3 :9                                     venture 16: 19
                             trustee 5:176:25                                                       wild 5:1 6:7,13
        3:16,24                                               veritext 28:20
                               24:16,17                                                             willkie 3: 11 7: 15
      tell 16:9                                               vetted 19:25
                             try 24:18                                                              wind 21:5
      tenants 15:22                                           video 7:5
                             trying 20: l 0, 10                                                     winning 11 : 17
        19:7
                               23: 1                                    w                           winston 3:3 7: 11
      term 12:21 13:2,4                                                --- -----------------~---!
                             turned 9:9, 11                   wall 4:3                              woman 26:16
        13:4,18 19:8 20:9
                             twice 26:7                       want 12:11,17                         word 11:16
      terminate 15:24
                             two 7:2023:12                     13:7 15:13 17:12                     words 10:21
      thank 6:23 12: 19
                               24:2                            22:3 26:3,4,4,6,6                      17:10
        16: 13 26:2,3, 11
                                                               26:13                                work 11 :14
        26:17,18
                                                              wants 15:8                            worse 23:6
      they've 15:9


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Case 8-17-08043-reg      Doc 29   Filed 09/13/18       Entered 09/13/18 23:25:16
  Case 8-15-7107 4-reg      Doc 809   Filed 02/15/17     Entered 02/15/17 16:25:34


      [would've - zoning]                                                                 Page 9

      would've 11 :5
       22:23
                X




      yang 5:22 6:24,24
      yeah 10:15 11:15
        18:21 22:7
      year 11 :25 13: 18
        24:2
      years 15:13J5
      york 1:2, 15 2:6
        3:7, 14 4:2,4, 19
        7:9
      young 14:4
      youths 14:6
                 z
      ziehl 4: 15
      ziel 6:14
      zoning 9:2 11 :23




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                     Federation Employment and Guidance Service, Inc.                                    EIN XX-XXXXXXX
                     Name


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 290 Federal Plaza
 Central Islip, NY 11722                                                                                 Date case filed for Chapter 11: 3/18/15

 Case number: 8-15-71074-reg




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